        Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 1 of 18

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                                                                           S(iUTllERN              nISTR_ICT                   OF      I'[.ORI[)A                                                     T ESTI     M0 NY O F: J O H N N Y                                       P R EV I L U S

                                                          CASE             NOi         23-cv-222Thli-BLOOM/Oi_azo-Reyes
                                                                                                                                                                                              3
                                                                                                                                                                                                            Direct             Examination                         by        Mr.      Tomchin                                   4
                              PATRICli            N%Lt.R.                  an       individual.                                                                                               4
                              and       IIOUIIA          BOU21,              ari      individual,
                                                                                                                                                                                                      CERTIFICATE                    OF      OATH                                                                          72
                                          Plaiiitiffsa                                                                                                                                        5
                                                                                                                                                                                                      CERTIFICATE                    OF          REPORTER                                                                       73
                                                                                                                                                                                              s
                              ITEII  ZAIBET                  a/k/a
                              aSwagg    I(ano,                 an          indlvidual,                                                                                                                ER R ATA       S H EET                                                                                         74
                              LOljTA           C.        REBIILARD,                   an                                                                                                      7
                              individuali                    LUX[)RY                PR(IPERTIES,                         111C.,
                              a     nelaware               ciirpotationi
                              BEACH           I'ROPEP.flES                   REIITAL,                riic.,               a   nelaiiate
                                                                                                                                                                                              8
                              coypotationi                     nUXllRY                PltOPERTIE!l
                              TRUST      u/a/d     Narch                         2,  2010i
                              AAA   I'Lf)S     FINAIICIAL                          GROUP,                )NC.,
                                                                                                                                                                                              9
                              a     Florida              ctrpiiration;
                              YVETTE           TENORD,                an         individuali
                              JOHIIIIY         PREVrLll!a,                   an       individii.il;
                                                                                                                                                                                           10
                              RES     IIIVESTIIEIIT        IIITER.                            itic.i           al
                              Florxda        corpotal_xoni                                 IIIFINITE                                                                                                                                                         (No        Exhibits)
                              RES       II{VF.STMEIIT.                     tLC.            a    llell8d.i
                              llmlted       liability                            (.(lmpnllyi                                                                                               11
                              NEIO 141Al'!1      REIILTY.                        CORP..              a
                              Florida             corporation:                             and
                              GUZ141111.105              TRIIST,             a      Florida                 trust,                                                                         12

                                            ogiendanta.
                                                                                                                               /                                                           13

                                                                       VTnEOCOllFEREllCE                                  [IF.I'OSTTION              at'
                                                                                                                                                                                           14
                                                                                               Jam                      PIIEVILI)S                                                         15

                                                                                     Ftiday,                  March            29,        20[14                                            16
                                                                                      12i20              PH         -      2i30        PI!
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                                                                       Geiirgib                  Wineqeart                     !     Associates                                            ia
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                                                                Cynthia                    Silv!!be!t5                         Count         Reporti_z                                     22
                                                                                                                                                                                           23
                                                                                                                                                                                           24
                                                    GEORGIA                         WINEGEART                                 &      ASSOCIATES
                                                                                                                                                                                           25
                                                                                                                                                                                                                     GEORGIA                      WINEGEART                             & ASSOCIATES
                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                    4
               1                                                                       APPEARANCES:
                                                                                                                                                                                              1                                                            JOHNNY                     PREVIIUS,
               2
                                                                                                                                                                                                  2   having         been            produced                      on        behalf         of     tlie       Plaintiffs                herein,
               3       0n   behalf     of Plaintiffs:
                             TAYLOR,       DAY,       GRIMM    & BOYD                                                                                                                             3   was      examined                   and             testified                as     follows:
               4             50 North      Laura       Street,  Suite   3500
                                                                                                                                                                                                  4                                                       DIRE          CT         EXA      MIN        ATIO           N
                            Jacksonville,          FL 32202
               5             (90 4 ) 3 5 6-3 2 2 4                                                                                                                                 12:19          5    BY   MR.       TOMCHIN:
                             BY:    KENNETH           A. TOMCHIN,       ESQUIRE                                                                                 (via   Zoom)
               6             AND:       TAYLOR        MCMAHON,        ESQUIRE                                                                               (via     Zoom)                        6            Q.      Please                state              your           name          for       the      record.
                            k tom chi n @ ta ylo rd a yla w. co m
               7            jdo@taylordaylaw.com                                                                                                                                                  7            A.      What                 is        it?
                            t rn c m a h o n @ t a y lo rd a yl a w. c o m
               8

               9
                            amelton@taylordaylaw.com
                            I a d @ t a yl o r d a yl a w. c o m
                             h m a x w ell @ t a yl o r d a yl a w. c o m
                                                                                                                                                                                   12:19
                                                                                                                                                                                           [ffl :: :':-,=::==:::=:.T;;,:::-='
                                                                                                                                                                                           10                  Q.      And           it's         P-r-e-v-i-l-u-s;                           is    that        correct7
              10
                                                                                                                                                                                              11               A.      Yes.                 Correct.
             11
                                                                                                                                                                                              12               Q.          Have           you              been          known             by      any        other          names?

             12        0n behalf        of Defendants        ]ohnny                                                              Previlus,      Yvette                  Tenord,               13               A.          No.
                       444   Plus      Financial    Group,      Inc.,                                                           Res    Investment                     Inter,
             13        Inc.,  Infinite       Res Inves(ment,                                                                  LLC                                                             14               Q.          Preliminarily,                           have            you      ever         been            convicted               ol
                             C O N R A D & S H E R E R, LLP
             14              633     South    Federal    Highway,      Sulte                                                                         800                           12:19      15       a crime         before?
                             Fort    Lauderdale,      Florlda    33316
                                                                                                                                                                                              18               A.          No.
'             is             ( g 5 4 ) 4 62- 5 5 0 0
                             BY:      STEVEN      H. OSBER,       ESQUIRE                                                                            (via     Zoom)                           17               Q.          And        I didn't                  ask          your         wife       tliat.          }'m     sure          the
              18             And:      3ASON     ADAMSKY,       ESQUIRE                                                                             (via     Zoom)
                            s o s b e r @ c o n r a d s h e r e r. c o m                                                                                                                      18       answer         is       no,     but                she      never            has      either;            is    that       correct?
              17            jadamsky@conradsherer.com
                                                                                                                                                                                              'ig               A.         Correct.
                             a t h o m a s @ c o n r a d s h e r e r. c o m
              18
                                                                                                                                                                                   12:19      20                Q.         Great.                 Where                 do     you        currently              live?

              19                                                                                                                                                                              21                A.         I    curreritly                       live         in      Texas.

              20                                                                                                                                                                              22                Q.         Where                 in       Texas?

                                                                                                                                                                                              23                A.         I t's      M a g n o lia,                     T e x a s.
              21
              22
                                                                                                                                                                                              24                Q.         W h e r e is t h a t c Io s e t o 7
              23
              24                                                                                                                                                                   12:20      25                A.         Itas       in,             I     would             say,          in     the        Houston                   area.
              25
                                      GEORGIA                              WINEGEART                                       & ASSOCIATES                                                                              GEORGIA                          WINEGEART                         & ASSOCIATES

    I   of 19 sheets                                                                                                                                                      Page 1 to 4 of 74                                                                                                           04/15/2024                01:37:11               PM
     Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 2 of 18


                                                                                                                                                              9                                                                                                                                                                                  11

           1        recall.                                                                                                                                                                          al      used       to       contract                because                they           used         to       receive             a 1099.

              2                 Q.           What           job          did     you          have      when           you     len        DeVry?                                                     2                 Q.          And       what              did they             do for          you?

            3                   A.           I was            -- first               worked              for      a company                      as an                                               3                A.           They           used           to     -- etther                 they          do       taxes          during

            4       administrative                           assistant                     and         also       I did        transfer               to     work                                    4       the     tax        season             and          --     but      that          was         it.        So      basically               for

12:26         5     for       a mortgage                       lending-lender                                    as a post              closer.              And                        1            5       the      rest        of the          year.              So I remained                          in the            office          for

              6     since         then,             I've           been          pretty               much           in --     more           lilie        tn the                                    6       other          senrices              and           so forth.

              7     financing,                    yes.                                                                                                                                               7                 Q.          Where            else         did you              work          when          you        started          AAA

              8                 Q.           Administrative?                                                                                                                                         8       through,             say,      2015,'16,'17,                           where            else        did      you         work?

              9                 A.           Assistant.                                                                                                                                              9                 A.          I work                for      a lender,                  Full     Star           Mortgage.                   And

12.26    10                     Q.           What           company                    o:o you           work          ror then;            do you

         1l         remember                     the     name?




                                                                                                                                                                                         l23'liih<h,fhp:y:=
         12                     A.           I don't                recall            because                 I was          htred         by     an

         13         agency.                  And         then             --     but       I dorlt             really         recall.

         j4                     Q.           HOW about                     the         lenderi          the first            mortgage

12:26    15
         16
                    lender

                                 A.
                                      you

                                             The
                                                  worked

                                                           first
                                                                     for?

                                                                          mortgage                    lender            was         NSL       and          } didrlt
                                                                                                                                                                                         -l-- -.    16                 A.
                                                                                                                                                                                                                                   IsAAAstillinexistence?
                                                                                                                                                                                                                                   Well,           it still           exists.                But      since            the       --

         17         -- they                have          been            out         of       business               for     probably                 over         15                               17       unfortunately                        after          the         lawsuit                and         that's          really        in --

         18         years             or     NO years.                                                                                                                                              18       so      I don't          really             operate,                so         really        make               money            out          of

         19                      Q.              After      that          -- and              you     did      post        dosing          work?

12:27    20                      A.              Yes,       I did              post        closing.




                                                                                                                                                                                         l23liilff:t(ffHJI11
           21                    Q.              And     then            aner          NSL,         who        did      you       work       For?

           22                    A.              I work             for        several                other          companies.                   I don't

           23          -- I can             go      look           for         them,           but      I don't             recall         because

           24          it's    been              a while             since             I become                  self-employed                         by

12:27      25          myself.

                                           GEORGIA                 WINEGEART                        & ASSOCIATES
                                                                                                                                                                                         ,,.!L:
                                                                                                                                                                                             :::::-::::;:.=:-=-                  GEORGIA                 WINEGEART                      & ASSOCIATES

                                                                                                                                                             10                                                                                                                                                                                      12

                I                Q.              When         did         you         first       become             self-employed?                                                                   1                 Q.          And          tell     me a little                 bit     more         about            that.

                2                A.              Well,        I opened                        AAA       Plus.           That         was         back         in                                         2    There          was      an administrative                              complaint;                  is that         correct?

              3        2015.               But      I was               working                 for     a company,                    I believe                   Gold                                   3              A.          Yes.            It     is, I think,                     administrative,                           yes,

              4        Star      Mortgage                     at         the      time,             while         I opened                 my     company.                                               4    again          stating             that           I was           involved                  in a real              estate

 1            5        And       then             I have            been              --      physically               I was         in     between.                      I              12.32           5    transaction,                   which               I'm          not      a listed             broker.                   And       at    444

                6      was       self-employed                                 and         also        that       too        but     I become                     fully                                  6    Plus,          we     do      not          provide               real          estate             services.

                7      self-employed.                              That          was           two        years            ago.         I started                 my                                     7              Q.           How          did      that         end;         what           did the            administrative

                8      own        company.                         So      I always                   own        the        company                   and      also           work                       8    result-what                     was          the        administrative                      result?

                9      as an          --     I work                as     a self-employed                              and         also       work           as a                                        9                           MR. OSBER:                         Hold          on just         one          second              because             I

           10          waiter              meaning                  received                   W-2.                                                                                         12:32   10                  don't         know              if like       the      Bar investiga5on,                             whether

           1l                    a.              Okay.             And          so in 2015,                 you        started        AAA,                                                           al1                   an investigation                          like     that      is confidential.                        So can

           12          cori-ect?                                                                                                                                                                    12                     you     ask       him          that        question?                   Because              I don't           want        to

           13                    A.              Yes.         That's              what              I recall.                                                                                        al3                   ask     questions.

           14                    Q_              And       did       you         also         start      it with           your      wife?                                                          14                               MR. TOMCHtN:                              You          want         me       to ask          whether             or

           15                    A.              Yes.         She              was         in the           corporation.                    What             happen                         12:32   15                     not     it's     confidential?

           "16         is in      some              time.                                                                                                                                           16                               MR. OSBER:                         Yeah.

           17                                    MR. OSBER:                          Hold         on.       Your        sound         Is going              out.                                    17        BY MR. TOMCHIN:

           18          BYMR.TOMCHIN:                                                                                                                                                                18                     Q.         Do you              know              if that         administrative

           19                     Q.             Say       tliat         agaln.                                                                                                                     19        investigation                  was          conndential,                      one      way         or the          other?

           20                    A.              She        was           in the              corporation,                    but       she       was         not         -                 12:32    20                    A.        I don't               know.               I cannot                  answer               that.

           21          she       always-basically                                          she        was        not       willing-so                       the                                      21                    Q.         Has there                  been          a final          resolution-I'll                         ask

                        business                  was        solely              operated                   by    me         only         but,        yes,        she                                22       that-yes                    or no?

                       was        in it.                                                                                                                                                             23                    A.         We         got           the      resolution,                   correct,                and        we      got            the

                                  Q.              Did      you          have          any        employees                 at AAA?                                                                   24        Platntiffs                 beef          in a complaint                         against                 me       in a crtminal

 12.29                            A.              Yes.         I --        most               of the          employees,                    more            likely,                         12:33    25        real        estate           transaction,                        which               I dtd        find        out        I did        not

                                            GEORGIA                 WINEGEART                         & ASSOCIATES                                                                                                                GEORGIA                  WINEGEART                        & ASSOCIATES

 3 o( 10      sheets                                                                                                                                                      Page       9 to 12    or 74                                                                                                                  04/15/2024                    01:37:11         PM
      Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 3 of 18


                                                                                                                                   13                                                                                                                                                            15

          "I       -- was          not     in any          real      estate          transaction                because             I'm                              1         copying.           What       was tlie           second           thing?         ] couldn't

          2        not      a listed        broker.               So the          complaint              was       dismissed                  in                      2        understand           your          answer         to the second                  issue.

          3        that      sense         because                I had      nothing           to do with               real       estate                             3                 A.        The       second           thing,           if somebody                  needs           to open                  an

          4        because              I never           been       a real         estate         broker           or employed                    by                4         LLC or a corporation                          on Sunbiz,                   so we       would              set     up small

1 2'33    5        a real         estate         agent.                                                                                                  j            5        business            and       things          like       that.          This      is something                    out           of

          6                  Q.          Was there             any other            findings        other        than       the                                       6        my scope.                 So I do that                and        then       we      charge           a fee         for

          7        dismissal            as to the real estate                     issue?                                                                              7        that.

          8                  A.          Well,        there         is no finding,                 and     I believe                                                  8                 Q.         Approximately                   how        many        tax     retums           would         you

          9        that's         the      reason           why       we      are     here         today          and       basically                                 9        say AAA lias done                    over the years                     for customers?

12:33    10        for    me to express                      myself          and      for     --                                                         1          10                  A.         Probably              150.

         '11                             MR. OSBER:                  Mr. Previlus,            Mr. Previlus.                                                         11                  Q.         And do you get hard                           copies         of folks'         docun'ients

         12                              THE WrTNESS:                      Yes.                                                                                     12         when      you do their               tax return,               or is it electronic                  or

         13                              MR. OSBER:                  I'm     going      to have           the court                                                 13         both?

         14                  reporter            read      the question              back again               and I want                                            14                  A.         Yeah.           I do have               a file         and      because               this     is

12.34    15                  you to answer                   the question,              as does           Mr. Tomchin.                                   1          15         the      norm,        to keep              the     documents                   at least            for     two         years

         16                  Answer             the question               that's     being        asked        of you.                                             16         and      a record.

         17                              Cindy,         could       you read          the question                back,                                             17                  Q.         What           bank      accounts             did AAA use in the 2021/

         18                  please?                                                                                                                                18          2022     years?

         19                                           (The question                 was read         back.)                                                          '19                A.         I used           the      Wells          Fargo          account.

12134    20        BY MR. TOMCHIN:                                                                                                                       1           20                 Q.         Any otl'ier            accounts              that      you can thmk                  or?

         21                  Q.          Do you understand                        my question?                  You said that                                      I 21                  A.        Well,          I use the             Wells            Fargo      account.                   This        is

         22         the real estate                part       was dismissed.                 Was there              any other                                        22         the     account             for    AAA          Plus,       and          I had      my      personal               business

         23         findings        by the administrative                           board      concerning               your                                         23         and     my        personal              account.

         24         license        or anytl'iing            else -                                                                                                   24                  Q.        At Wells             Fargo       as well?

12:34    25                  A.          No,      no,      no,      no.                                                                                              25                  A.        Yeah.            That         was       at Wells              Fargo.           And          also        I

                                    GEORGIA               WINEGEART                 & ASSOCIATES                                                                                                  GEORGIA           WINEGEART                    & ASSOCIATES

                                                                                                                                     14                                                                                                                                                               16

              1               Q.         Where           currently          does AAA keep                  its business                                                  1      had      a personal                account              and         we    -- that          was          under          that

               2    records?                                                                                                                                              2     account            where           I received                 the       deposit          money.                 I was           using

               3              A.         It's     at the          office       in Miami.              And         I still      have                                       3     it more           like      my      savings,             We         Financial.             It's         a credit

               4    the      office,        but         I still     keep       AAA        Plus       exists,         but       I                                          4     union.

 1             5    don't         have          any      transadions                 going          on at that              moment.                                       5              Q.         I received              from        you      and your           company               some          We

               6                          MR. OSBER:                  Letas try this one more                        time.                                                6     Financial          records.

               7              Cindy,        can you read                   back the question?                                                                             7               A.        Yes.

               8                                      (The        question          was read             back.)                                                           8               Q.        I don't         think        I ever         received          any Welts              Fargo

               9                          THE WITNESS:                      In the office            in Miami.                                                             9     banking          records.           Do you still                have      Wells      Fargo             banking

 1       10                               MR. OSBER:                  Say it again.                                                                                   al O       records          for AAA?

          "11       BY MR. TOMCHIN:                                                                                                                                   41                  A.        Yes,          actually           I do,          and       I do have             records             and

          "12                 Q.          At the office              in Miami,          correct?                                                                     12          -- which           from          the     -- all        the      records           of the          transaction.

          13                  A.          Yes.                                                                                                                       13                   Q.        So you           still have           that         handy       right     now in your

          14                  Q.          Approximately-well,                            tell me what               AAA did.                                         14          possession,              it sounds             like.

          '15       That's         a very        broad          question          and might              have      a very          broad                             1 5                     A.     Yes,          I do.

          16        answer,             but what           did AAA do?                                                                                               16                      Q.      And the closing                    on the Port St. Lucie

          17                  A.          What           I did,      taxes          and      also        we     provide,            if                                17         property,          do you          have         those          documents            as well?

          '18        somebody                   needs         an LLC, we                do that,           and      begin          to complete                        18                     A.      I should               be able           to begin             an email               and      things

          19         documents,                   online          documents.                 So we            do it online                for      a                  19         like     that      to have              them.

  1       20         fee.         And      then         also       -- we       also       -- we          also     provide            a                       12:         20                  Q.      Great.             What        email        account          did you          use ak AAA?

          2al        notary          seniice.              And       also      we       provide            prints        and        fax       and                        21                  A.      It's         AAA       Plus        and      it's     a gmail           account.

          22         things         like        that.         But     the      client       services              is the       client                                    22                  Q.      Do you             still have         it?

          23         services             taxes,          but       we     do other           services              in order             to                              23                  A.      Yes,         I still       have          my gmail             account.

          24         keep          us open            during          the     year.                                                                                      24                  Q.      Did you             have       any other              email      accounts              in the

  1       25                   Q.          And        l understood             the taxes,            the notary              and                             12:         25       2021/22           period?

                                        GEORGIA             WINEGEART                & ASSOCIATES                                                                                                  GEORGIA              WINEGEART                   & ASSOCIATES

 04/15/2024          01:37:11             PM                                                                                                    Page 13 to 16 of 74                                                                                                                               4 of 19 sheets
       Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 4 of 18


                                                                                                                                               17                                                                                                                                                                     19

            I                 A_          Thatas             the     primary             email          I was          using             for     AAA.                                   I        other       services,                such         as he told               me       he wanted                 to open                 a

            2       And       the        other          email         was       when            I used           to work                 for     the                                    2        corporation                   and      this       and       that,         which         we      did       that        at AAA

            3       company.                    So once              Iam out          of the          company,                  so I no longer                                          3        Plus.         And        I did        not        do the          corporation                 for      him.

            4       have        access.                And          then      mostly            all the          communication                                was                       4        Basically,             I did         a third            party         so I could              get      paid         for

12:         5       related          to finance,                    but      not      related           to AAA               Plus.                                    12:44             5        the     service.

            6                 Q.          When           was the last time                      you were               over        at AAA In                                            6                 Q.           What          corporation             was set up by that                        third

            7       Miami?                                                                                                                                                              7        party,        if you         know?

            8                 A.           Last        month.                                                                                                                           8                 A.           It's      a company,                  I believe,               in Jacksonville.

            9                 Q.           And are you going                         in the near               future?                                                                  9        It's     a registered                     agent,           and      it was          through            their

1 2.      10                  A.           Yeah,             I should,          because                 I -- even             though                I'm               12:4410                    website               and      then         you         input       it there           and      then          you

          "l al     in taxes,              I work             at home.                And       because                I'm         here         not       only                  11               complete               the          LLC form.

          12        trying          to establish                     a business              here,             but     also         -- but          I                           12                         Q.          What's          the        name       of his company,                     do you           know,

          13        still     have             my      office         in Florida             and        it's     my job              to go                                    113                that     was set up?
                                                                                                                                                                               I
                                                                                                                                                                               i14                         A.          The        name            of the         company               is some             Luxury
          14        there.

1 2'41 1 5                    Q.           When's             the next         trip       planned?                                                                    12:45t 15                  something.                     I don't            really         recall,        but     it was            set    up as

          16                  A.           I don't             -- probably                next        month             or it can                be                            116               a real          estateinvestment,                               something               like        that.

          17        sooner.               It     depends.                  If I have            some            clients,            we         do Zoom                         il7                          Q.          Was it one of the                       Defendants              that        have       been

          18        appointment,                        we         do Zoom            interview                 or things                 like        that.                    E18sued,LuxuryProperties,or do you know?
          19        But       some             of them              want       to meet             with          me         face         to face              so I             !19
                                                                                                                                                                               I
                                                                                                                                                                                      A. Yes. Pretty much that is the company.
12:42     20        make            that        trip         to them.                                                                                                 12:45         20                      Q.          And you             helped          set that         up;       is that        correct?

          21                  Q.           But right               now you           don't        have         a plan         like next                                         :2al                        A.          I helped                 and,     yes,       through             a third           party.             I

          22        week;           you        don't         have      a plane           ticket       or anything                  of that                                          22            was       using             a third            party      to set          it up.       And          then        I get           --

          23         nature          to go back?                                                                                                                                ' 23              and       I charge                 him      now         the      third        party         fee     and        my         fee.

           24                  A.          I do have                  a -- actually,                I have             an appointment                                                   24                  Q.          Who was               the third           party?

 12:42     25        I'm      supposed                   to go this             week.             But          what          happened,                    the         12:45             25                  A.          Itas         a company                  upin        Jacksonville.                    I donat

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                                                                                                                                                 18                                                                                                                                                                        20

                I    appointment                        that        I had,         then         something                   come           up and               I'm                         1     recall         because               that        was       since          -- after          2021,           after         all

                2    not      sure.             If     I contaded                  the      position,                I will        go.         But                                          2     that      come              down,           so I told            him       I no longer                 provide

                3    I don't             know           if I will           go because                  the      appointment,                           for                                 3     services              for      him.            So I -- I can               find       the      name            because                   I

                4    whatever                   reason,              was      canceled.                                                                                                     4     should              have           a record            of the          information,                 but        I donat

 1 2'42         5              Q.              Has it been             rescheduled                for next             week?                                           12:                  5      recall         at this            moment.

                6              A.              I don't          know.          Like         I said,            after         the     meeting,                                               6               Q.            All right.             Approximately                  how      many           phone          calls

                7    after          the        deposition,                  so that's             when          I would              know.                So I                              7      have        you had with                   Iteb?

                8    have           to talk            because              I don't          have         to travel                for     an                                   i            8              A.            Well,         now         I met         Iteb       and        Lolita        twice.               He
                                                                                                                                                                                I
                9     unsuccessful                      meeting,              but        because                if I can            do the              Zoom

 12:43     10        or over              the         phone,          so it's         not       necessary                for        me         to                      12 46 10
                                                                                                                                                                                I 9 used
                                                                                                                                                                                       tocome
                                                                                                                                                                                            tomyoffice
                                                                                                                                                                                                    when
                                                                                                                                                                                                   tax
                                                                                                                                                                                                       I was
                                                                                                                                                                                                           --I didfileone
                                                                                                                                                                                                            return             for     him.         But      at the          time        he went               to -- and                   I
                                                                                                                                                                                I
           11        travel.                                                                                                                                                            11         never              heard          from         him.       I did         finally       ask.           And       at that

           al 2                 Q.             Tell    me about              when         you first            met      Iteb        and         his                             :12                ttme          Lolita         did        not     have          copies         of this         for     whatas              --

           13         -and/or                  his wife.                                                                                                                        '1 3               when           he filed             together              with         hts wife            Lolita.            And        since
                                                                                                                                                                                I
           14                   A.             Oh,      that         was      back          in maybe                 2017,          '18,         if I                           ' 14               then          --

  q 2:      al 5      recall.                                                                                                                                          12:47            15                                MR. OSBER:                     Mr. Previlus,               guess          what       I'm     going

           16                   Q.             Where           did you        meet          them?                                                                                   ' 16                       to have           done         for you?             l'm      going       to have            Cindy           read

           17                   A.             Yes.          Adually           that         was         somebody                    -- I didrlt                                         17                      back       the question                  for you.           Let's      try again.

           18         recall         the         company                and        asked          for     -- he was                  looking              at                        ' 18                                               (The        question            was       read     back.)

           19         first        for     a loan,             but      -- and           they      -- and             he was              referred                                  ' 19                                  THE WITNESS:                          Well,lcannot                  recall         because              we

  12:       20        because                  he      needed              to talk        to somebody                        that        speak            French,       12:47               20                  talked         a lot.         And when               he was here,                he called             me

            21        and       I do have                    a French              background.                       So I was                  able       to                        : 21                        on the          phone.             And when              he was away,                   so he called

            22        communicate                            with      them          in French.                                                                                     ' 22                        on What's              App.         So I cannot               recall      that        many           calls.

            23                                 Unfortunately,                      I did        not       do any              loan                                                  I 23            BY MR. TOMCHIN:
                                                                                                                                                                                    I
            24         transadion                      for     them          because              he was              not      qualified.                     So 1                  ' 24                        Q.         When            was the          last tlme           you     talked          toReb?
                                                                                                                                                                                    j
  12.       25         told        him         I can't          help.         And         then        after          that,         he wanted                            i2:4E)              25                  A.            Probably             a month               ago.

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 5 of 19 sheets                                                                                                                                           Page 17 to 20 of 74                                                                                                                  04/15/2024                  01:37.11            PM
  Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 5 of 18


                                                                                                                                                        21                                                                                                                                                                      23

                                                                                                                                                                                               4                  Q.         Right.         And after            all you've            been          through              up




    1-i-,..,"..Ei':'=.=,:;'-:E}..,.......,
                                                                                                                                                                                                2        to today's          date,        do you believe                  Mr. Muller                lent     money              to

                                                                                                                                                                                                3        Iteb,    or did Iteb             steal      money             from       Mr. Muller?                 Do you

                     4         him      about          maybe              last       -- in 2021.                  He keep             asking              me        when                        4        have     a belief          and opinion               now,        one way              or the other?

,,_.t,                         can-whatdoyouwantmetodowiththeglovesand                                                                                                       12:51              5                            MR. OSBER:                  Hold on one second.                                Object         to the

        .            6         something                 expensive,                  but      I still       have         that         on my                                                     6                 form       of the question.                     And to the               extent           it causes

                     7         possession.                     He keep              calling         and       asking            for    it.        So I                                          7                 him to give              any sort           of answer               that         pertains          to

                     8         told     him       I'm          not      even         in Broward.                     I donat          know              and     I                               8                 information               that     he received                 from        his attorney                  I

                     9         don't      even           know            if I have            it because                it probably                     in my                                   9                 would          Instruct         him     not to answer                    because             it was

12 48 10                       stuff      at the              same        time.                                                                                              12:51        10                      attorney/dient                   communication                      and work               produd.                 So

                ll                      Q.            Do you           have       some        of Iteb's            propefy            in your                                                 I al                based          upon       those        grounds,               I think,           in an abundance

                12             possession              now?                                                                                                                                   12                  of caution,             what       his beliefs                are are irrelevant

        . 13                            A.        The          gloves.                                                                                                                        13                  regardless.               But if les based                     upon        information

        ' 14                            Q.        The gloves?                                                                                                                                 14                  that       he has that             we gave              him,        it's privileged.                    So

12'49           15                      A.            The       gloves,             yeah,       Louis            Vuitton,            something                               12:52            1 5                 he's       not going             to answer             that      question.

                16             like     that.                                                                                                                                                 16                              MR. TOMCHIN:                       Wait.

                17                      Q.            Louis      Vuitton?                                                                                                                     17          BY hm. TOMCHIN:

                18                      A.            Yes.       I'm          not     up to this             type        of things.                                                           18                  Q.          Have you             done         any independent                        investigation

                19                      Q.            Did you           buy a Louis             Vuitton              glove      for Iteb?                                                     19          other     than         what       your     attorney                has talked              about      with            you

12:49           20                      A.            Yeah.            That         was       the    guide.             That          was         it.         And             12.52           20          about        where        the     monies            came         from,        things             of that        nature?

                21             he purchased                      it.      And        then       he make                me       pay      for        it.        And                            ;'I                 A.          No.

                22             since         then,            I never          had        a chance               -- I never            have               a                                   22                   Q.         Have        you      ever         read      any      articles           about          Swagg

                23             chance            to     give         it to him.               So it's        still      in my                                                                  23         Man,      Iteb?

                 24             possession.                    That           was     probably              two         years,         three              years                                24                  A.         Well,         thatas        recently.                And,            yes.       So not              the

12.49            25            ago.                                                                                                                                           12.52            25         new       ones.           Basically            Google               when           all     of this         come               up.

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                                                                                                                                                          22                                                                                                                                                                         24
                 .}

        (             1                  Q.           Was that                money         out of your               444      account?                                                             1     But     before            then,       I did         not.

        :                2               A.           That       was           out     of the        AAA           account.             That              was                         i             2               Q.          And I asked              you      for your            opinion              today,         not

                         3      probably               for      7 or 10,000.                   I don't             remember.                                                                        3     two     years          ago,     not three             years         ago,       but        today.          And do

            :            4               Q.           And do you                 believe        it was           monies         that     came                                     i 4                     you have an independentopinion as to whether or not
12:50                    5      from      Mr. Muller?                                                                                                                         12:5.!1 5                   Mr. Muller             had had his funds                       stolen        by }teb,             or not?
            I

            '            6                A.          No.        That          money           was        actually             from          -- it was                                i             6               A,          I dor!t         -- I cannot                   answer               that.
                                                                                                                                                                                                                                                                                                                                                   C5
            '            7      the     first         transadion.                     He sold           a property                   in the             Keys,                         ',            7               Q.          But you         do have            Iteb's         property             in your                                     M
                         8      and      I believe               the          community                 was          called       Coco            Plum.              But                            8      possession             today,        correct?
                                                                                                                                                                                                                                                                                                                                                   ci
                         9      that      was          not      from           the     Muller           money.                That     was              with        a                                9              A.          Possession?

 12:5p           10             previous               transaction.                                                                                                           12:53            10                   Q.          Yes.

                 11                       Q.           Do you            remember              the timing,              the      date         that                                             14                   A.           I do have              the      glove.            Yeah,            I do have                  the

                 12             transaction               occurred?                                                                                                                       ', 12            glove,           a set       of gloves.               That           was      way          before          -- that             was

                 13                       A.           I can           find      it because               it's       on the          AAA          account.                                i    13          purchased                way       before             -- before              Mulleras              money,                 before

                     14                   Q.           Do you            believe          now that-let                   me ask you                                                       I 14             the     wires          from        Patrick.

 12:50               15         this.        Did Mr. Muller                    send       to AAA wires?                                                                        12:53            15                     Q.        And we'll          go through                  Muller        wires         in a few

                     16                   A.           Well,           I received              probably               four       wires            or five                                       16         minutes.              So the gloves                  that     you      have         were          purchased

                     17         wires           from          Patrtck            Muller,          but      that        was       communication                                            , 17             before           Mr. Muller          sent      AAA any               money,              it sounds             like.

                     18          between               Iteb          -- to Iteb.              So, yes,             I do       receive             the                                     , 18                         A,        That       is correct.

                     '19         wires.                                                                                                                                                   I 19                         Q.        Do you         have          anything            else of Iteb's?

                                                                                                                                                                               12'53                20                 A.        No.      That's          it.      That's          the         only         thing.


 12:51                22
                             ,,k,"El
   2201""x: AYneds,daidn:0;WeVllelrgt.lavlek
                    ytOouMr,hMeudlleetra?.ll,
                                          Q.           I'll    get      to that.                                                                                                              . 22
                                                                                                                                                                                                    21

                                                                                                                                                                                                           all since
                                                                                                                                                                                                                       Q.        Did you

                                                                                                                                                                                                                              you've         been
                                                                                                                                                                                                                                                   and Iteb

                                                                                                                                                                                                                                                        sued?
                                                                                                                                                                                                                                                                       talk      about         this        lawsuit         at



                      23                  A.           Yes.            I never           talked         to Mr.          Muller.              I heard                                                23                 A.        Well,       I did        ask          him       whatis              going          on         because

                      24         about          him           through            Iteb,        but       I never           talked             to    him                                        ' 24          -- and          we      basically            quit          after.         That          I wasn't              aware               of

 12:51                25         personally                   by phone               or email.                                                                                 12:54                25      any        issue.          He told          me       about            Patrick             Muller          and            he even

                      -'-'-a                     GEORGIA                  WINEGEART                 & ASSOCIATES                                                                                                             GEORGIA               WINEGEART                    & ASSOCIATES

 04/15/2024                      01:37:11             PM                                                                                                            Page 21 t.y 24 of 74                                                                                                                                        6 of 19 sheets
       Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 6 of 18


                                                                                                                                               25                                                                                                                                                              27

                                                                                                                                                                                  1        closed.             And         that's       the      reason            why         he asked                me      to        -- so
       I      la told me becausehe was like his father. Hewas in a
       :      2        jail     and      he actually                 paid             his     lawyers'               fees        and     also                                     2        he couldn't                  pay     me.        So he send                  that          in order           for     me             -

              3        support           him.          And        then           I have              work           with       Patrick,          to wire                          3        to allow              us to receive                 the      money             and         the     $10,000.

       !      4        money            to his         account,              and            the      account               I believe           he     lent                        4                 Q.           Have         you ever           seen        any part          of that          account             in

                                                                                                                                                                         l        5        which      my clients,                   Mr. Muller         and his wife,                  sent      money           to


"t : :':::':=:"'='=::':::::='::::"=:'=:'::'='::"                                                                                                                                  6

                                                                                                                                                                                  7
                                                                                                                                                                                           Iteb,     to the

                                                                                                                                                                                                    A.           Yeah.
                                                                                                                                                                                                                      Banlc of America

                                                                                                                                                                                                                                That          was
                                                                                                                                                                                                                                                        account?

                                                                                                                                                                                                                                                       part        of the            transaction.
       I 7 account.
       '      8                  Q.       To that            account,                 or AAA?                                                                                     8                 Q.           Did you see the actual                            bank        account          to

       '      9                  A.        No,        not       AAA.             Patrick             sent         money           to Iteb's                                       9        disclose            the    amount           that      went        Into Iteb's              Bank        of

 1 2:55     "l 0       account.                I believe             it's        a Bank              of America                  account.                                1       10        America             account?

       : 11            It's      not     the      first       time          he sent                 money,             I believe.             And                                11                  A.          I don't             remember.                 Probably                --

       I    12          if you         allow          me -- and              I believe                   one        thing        -- one         of the                           12                  Q.          Or was it just                what         }teb      told     you?

            13          reasons           that         when          it came                 to my            account            and      I believe                in            1 3                 A.          Not        really       because               that       was         the      wtre         and          all
       I
       : 14             late     2020          and        Iteb       was           released                 from        jail      because            -- and                      14        the      details            were          on the          wire.

 12.5515                then      he told             me -- he find                         out      that       this        account           was                                15                  Q.          And do you still                   have       a copy          of that         wire?

           , 46         closed          and       probably                 for        not     -- for          non       activity          or for                                 16                  A.           Well,        and       your        clients          should               have        a copy             as

           : 17         whatever               reason.              And           then            he -- so he sold                     his    property                           17        well.

           j 18         to someone                    in Coco           Plum.                And         then         he owes            me      about                           18                  Q.           Yeah.         But do you              have          a copy          of that          wire?




                                                                                                                                                                                 . ,.....,..,,.,,...
           i
           ' 19         $I0,000            while             he wasin                  --    actuated.                 So,       therefore,              I                       19                  A.           I would             discuss           that       with         my          lawyer.

 12:56       20         used       to pay             to his        corporation                         and      Lolita,         the      wtfe       used                1       20                  Q.           You'll       discuss         it with         your      lawyer?

           : 21         to call         me      -- itas unclear                       exactly             that.         I can't         -- so

           : 22         he says           the         only       way         that           I can        pay         you,        I sold       the                                22                  Q.           Okay.             All right.        If you would.                    How much                was

           I 23         property,               but       it cost           me        about             the      $80,000.               So I need                                 23        that     wire        for,       do you think?
           I 24         -- and          I can         pay       you         the        $10,000,                 but     I cannot              receive                             24                 A.              Probably            20,000            or something.                       I dorlt              recall.

 12:56       25         the      money            because               I have               a couple               of things            to     pay.          If                  25                 Q.              Okay.          And I got some                   records           from       you.         Maybe

           ' -'--                        GEORGIA                WINEGEART                     & ASSOCIATES                                                                                                     GEORGIA               WINEGEART                 & ASSOCIATES

                                                                                                                                                 26                                                                                                                                                                 28

                  1      you      can      resend             the       money                -- and             sent        me     3,000         -- and                               *     I got that               one.

                  2      then      you         can        pay       this         stuff        for       me.         This       is how         all                                     2               A.             But      that      record          does          not      --

                  3      this     -- everything                     begun.                                                                                                            3                              MR. OSBER:                Wait         for the          question.            Johnny,

                  4                            And        then        I provide                   him         the      account           and        then                              4               wait           for a question.                 You don't              talk      until    there's

  1               5      the     money            came.              That             waslike               $88,000.               And        then       I                   q        5               a question.

                  6      trade         the 10,000                 and        then            pay         you        whatever              I need             to    pay                6                              THE WITNESS:                     Okay.

                  7      you      with         the      rest.                                                                                                                         7                              MR. TOMCHIN:                     Taylor,          let's        pull     up the       bank

                   8                           COURT            REPORTER:                     The audio                is so bad.             Iam                                      8              account               for Wells          Fargo.          Make          it larger,           if you

                   9              having          trouble.                                                                                                                             9              would,            Taylor.          Take        out      that      left       side.

             10                                       (Off-the-record                        discussion               held.)                                                      10         BY MR. TOMCHIN:

              11         BYMR.TOMCHIN:                                                                                                                                            11                  Q.             Can you see that,                      Mr. Previlus?

              12                  Q.           Have         you      ever         -                                                                                               12                  A.             Yes,      yes.

              13                               MR. OSBER:                    Let's           start       all over           again,                                                13                  Q.             Is that         the AAA business                     checking             account              with

              14                   please.             Hold on.              Clndy,           are you               ready?                                                        14         Wells         Fargo?

  12:57       15                               COURT             REPORTER:                        I'm    good.          Thank          you.                                       * 5                 A.             Corred.

              16                               MR. OSBER:                    Johnny,                wait        a second.              lohnny,                                    16                                  MR. TOMCHIN:                     Let's       come         down          just      a little

              17                   wait        just     a second.                                                                                                                 17                      bit.       Rightthere.

              18                               Mr. Tomchin,                      go ahead.                                                                                        18         BY MR. TOMCHIN:

              19          BY MR. TOMCmN:                                                                                                                                          19                      Q.          What       was the starting                     balance              on December                   1st,

              20                   Q.          Let me ask the question.                                       Have you             ever       seen                                    20     approximately?

              21          the Bank             of America               account              oflteb?                                                                                  21                  A.          December                1st?

              22                   A.          No.        I never                received                this       whole          statement,                                         22                  Q.          Yeah.          It says beginning                    balance             on December

               23         but     I believe               I do have                   a -- I did                have        a -- when               he                                23     1st.         Does          it not say 2,000                -

               24         told        me to send                  the       money                 to me,            he did        send        me.        And,                         24                  A.          Yes.

   1           25         unfortunately,                      the       account                   showed              the      account           was                                  25                              MR. OSBER:                 lohnny,             when           Mr. Tomchin                is

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  7 of 19 sheets                                                                                                                                         Page 25 to 28 of 74                                                                                                               04/15/2024                01:37:11      PM
            Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 7 of 18


                                                                                                                          29                                                                                                                                                       31

               1                 talking,        you don't            talk.                                                                                         I        actually           coming          from       my business                  partner,            as you           know,

                2                         THE WITNESS:                        Okay.                                                                                 2        and      my relationship                    with         Patrick         Muller.           So he -- there

                3                         MR. OSBER:                  What's          going     to happen          is Cindy's                                       3        were       several           things         going         on between                them.            But        he

                4                fingers        are going to catch                     on fire and we're            going                                           4        never         -- yes.

13              5                to be in trouble.                                                                                                                  5                 Q.         Good, good.              What         was Iteb         In jail for, if you

                6                         MR. TOMCHIN:                        And she's in Jacksonville.                      She                                   6        know?

                7                might         shoot      me.         Go ahead           and read that            number,           if                              7                 A.         Well,     I do not             know.           :[ don't       Icnow.

                    8            you would.                                                                                                                         8                 Q.         Did you ever ask him?

                    9                     THE WrTNESS:                        The number          is 27 -                                                           9                 A.         Well,      all he told               me -- because                  -- all he told

j            10                  2,790-and-something.                               I cannot     see clearly.                                     1         10               me,      he says            that     was          an accusation                  and       -- but,

              l'l        BY MR. TOMCHIN:                                                                                                                    1 *              nonetheless,                  I was        never          really      focused              to check            in on

              al2                Q.           But it's a little         over $2,700?                                                                            I 2          that      until       after        and     the      lawsuit,          we        checked           again.

             1 3                 A.           Correct.                                                                                                      13                        Q.         Did you go check                  to see what               he was in jail

             14                  Q.       That's         December              1st 2021,         I believe,        correct?                                 14               for?

i            15                  A.           Correct.                                                                                            ia.       15                        A.         weii,      after        the     accusation,                 I do a little            bit

              46                 Q.           Now was there-strike                        that.      So at that                                             16               of research                 on that.

              17         time,     it started          with      2,700.             The next deposits             for that                                      17                    Q.         What did you find out?

              18         month         were       almost        1.4     million,        wasn't     it?                                                          18                    A.         Well,      I found             out     he was          accused             of -- and             we

              19                 A.           Yes.                                                                                                              19            got     money.             I don't         really         recall,        but     it was          -- and        we

              20                              MR. TOMCHIN:                    Come on down,               Taylor.                                               20            got     some         money.

              2'l        BY MR. TOMCHIN:                                                                                                                        21                    Q.          Fraud, theft           of others           money,           is that       what      you

              22                  Q.          Does it show,             December              3rd, a large deposit                                              22            found        out?

               23        from     Mr. Muller?                                                                                                                   23                     A.        Yeah,          sort     of.     Yeah,          but     not     really         -- yes.

               24                 A.          Yes.       That     was          a deposit          from      Mr. Muller              for                         24                     Q.         How long was he in jail for, if you know?

    i          25        Iteb_                                                                                                                                  25                     A.         I do not          know          because             the     last      time       I spoke

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                                                                                                                              30                                -,-                                                                                                                     32

                    1             Q.          And you never               talked        to Mr. Muller            about    that,                             .           1     wtth         him     before         he left         the     country,             he was           in Los

                    2    corred?                                                                                                                            ,           2     Angeles.              He used             to livein          Miami.             And       then       after          *

                    3             A.          Never.                                                                                                        .           3     that,        I never         heard         from         him,        and       then-until                one         day,
                                                                                                                                                            I
                    4             Q.          And you had nothing                       in writing       from                                               '           4     I received             a call        from         Lolita,         his wtfe.            And       then      so I
                                                                                                                                                                                                                                                                                                         c5
                    5    Mr. Muller;             is that      corred?
                                                                                                                                                      -=i               - -------------------------------------------
                    6             A.           Correct.
                                                                                                                                                            i 6 I don'tknow.
                    7             Q.           Did you have anything                      in writing        from       Iteb                                 I 7                        Afterall the researchthat you'vedone,do
                                                                                                                                                                                        Q.
                     8    about        this     money?                                                                                                      ! 8               you believethat Iteb hastold youthe truth on
                     9            A.           Well,      we had              communication.                                                               I 9                everything             he discussed               with      you concerning                  Mr. Muller?
                                                                                                                                                           I
    1          10                 Q.           Let me ask-I'll                  get that-but               did you                                    13.06 10                                    MR. OSBER:                   ObjeCtiOn          tO farm.

               11         have anything                in writing             about     why that         money         was being                            ill                                   THE WITNESS:                    I cannot            answer         that      question

               12         sent to AAA?                                                                                                                      112                         because            Mr. Muller           and Iteb,          they       actually         were
                                                                                                                                                                i
               13                 A.           No.                                                                                                          ' 13                        friends.           And also it is proven                      that     he send money

               14                 Q.           Now tell me about                     the conversation             you had                                 l 14                          to his accounts.                  Basically          they       have        a
        j      15         with Iteb            about      monies         going         to be sent by Mr. Muller                     to                13'OJ15                              relationship.
                                                                                                                                                            I
                16        AAA.                                                                                                                              ! 16               BY MR. TOMCHIN:

                17                 A.          He told          me,      Mr.        Muller-at            first    he did        not                             f,17                       Q.      Have you ever talked                         to Mr. Muller?

                18        tell    me the              money        is coming              from     Mr. Muller.                He told        me                 !18                        A.      No.

                19        he will         send         some       money              to my account                and     he has          my                            49                 Q.      So do you admit                    Mr. Muller             sent Iteb         money

        1           20    account              number           from          the     previous       transaction.                                                       20     through           AAA, correct?

                    21                         And       then     later         he on he asked                   me,    because           it's                          21                 A.      I'm      not        saying-so                  if I admit            that

                    22    an international                      wire,         I will     need     a suite         number            in                                  22     Mr. Muller                send      money,             can you           answer            that?



                                                                                                                                                                                                                                                                nowcame
                                                                                                                                                                                                                                                                     ]
                    23    order         to send           the    wire          to your         account.           And     I went          and

                    24    get the             suite      number           to him.                                                                                       2243
                                                                                                                                                                           from:'r.                             admitthat
                                                                                                                                                                                                   Miiuklele:hem$y5cs%e,nOtOor,11gyho
                                                                                                                                                                                                                                c*
                    25                         And       then     he told              me my-the                 monies        is                     13                25                 A.      Yes.

                                         GEORGIA              WINEGEA RT & A SSOCIA TES                                                                                                          GEORGIA WINEGEART                           & ASSOCIATES                                                LF
        04/15/2024        01:37:11             PM                                                                                    Page 29 to 32 of 74                                                                                                                              8 of 19 sheets
      Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 8 of 18


                                                                                                                                                                   33                              :%-35

                  al                              MR.        OSBERI                   Object         to the          form.                                                                         j1           sometime                      I use           it if I need                   to        pay         for     somethtng,                          not         to
                                                                                                                                                                                                   i
                  2       BY MR. TOMCHIN:                                                                                                                                                          ', 2         use      my          debit           cards.                 So that's                  probably                     the      reason               why            I

                  3                  Q.           Let's       go on.                 On December                     7th        -                                                                  )3           transferred                     that.                And           I believe               at that              time             I was

                  4                               MR. TOMCHIN:                                Can you          make             it a little           bit                                          ,' 4         paying            some               other             little            FPL      and           things               like        that,         but         I

1                 5                  bigger,             Taylor,              just       a little?           I'm        not     sure        -                                             13:10'      5         probably                     used        the          Cash           App          to      pay        for        it.

                  6                  there         you        go.                                                                                                                                     6                   Q.             Again,            not         for         Mr.    Muller,             but        for        your

                  7       BY MR. TOMCHIN:                                                                                                                                                             7         personal               use,         correct?

                  8                  Q.           -it        says         purchase                  authorized                 corporate                                                           ., 8                    A.            Well,           Mr.           Muller             was           notin             the         picture.                  The

                  9       fllings,          $325.            Do you                see      that?                                                                                                  ( 9          money                come            from             Mr.          Muller,             but         the         money               was          to     be         used

i            10                      A.           Yes.                                                                                                                                    13:11     10          for      Iteb.               I never                 spoke           to     Mr.           Muller           in terms                     that         he

                 41                  Q.           What's             that            ror?                                                                                                          ' 1l         send        me           money                 to      provide                 service               to        him.
                                                                                                                                                                                                   ]
             12                      A.           That         probably                       was       to    renew                 the     corporation.
                                                                                                                                                                                                   tl2                                       LikeI said,likeI already
                                                                                                                                                                                                                                                                    explained
                                                                                                                                                                                                                                                                           earlier,
             13           They         sometime                      probably                     pay    me          in cash               money            and          I                         It 3         Iteb told                    me his account was closed after 1 believe
                 '14      probably                use         the        account                  to do        it,       or something                       like                                   (14          Mr.       Muller               sent           him          money                or     something                          like      that.             So                 :

13               I 5      that.
                                                                                                                                                                                              "l5 nowhetold mehewill sendsomemoney.SoI find out
                                                                                                                                                                                          13.11!
             16                      Q.           Let's        go back.                     The      account             started            with                                                   ' 16         the       money                 come                 from           Mr.     Muller               the       day            after          when              he

             17           2,700.            And then there was $557,000 put in by my client,                                                                                                        17alreadyhavetheaccount.                                                                                                                                                     /a-"'t
             18           Mr.     Muller,               correct?                                                                                                                                    18                                       So,     therefore,                      I never                  -- and            he        told          me      --     I                     '

             19                      A.            Well,           the          money               came           from             your        client,            but                              19           said,        Why              the       money                     come         from            Mr.        Muller?                  And          he        told

1                20       that       was           for       Iteb.             This           is what          I know.                                                                     131       20          me       and           Mr.         Muller             is his             business                  partner,                 so they                  have

                 21                  Q.           Thaes             what             he told         you,          nght,        Iteb?                                                                21          business                    going            on       together,                     so       he     is actually                    transfer


             :: ,..,..............,.....-.-=]                                                                                                                                                        22

                                                                                                                                                                                                     23
                                                                                                                                                                                                                 the       money.

                                                                                                                                                                                                                           Q.                Let's       go back to the 41,soo.                                           That is a Cash

                 24                    Q.          Right.            Now             tl'ie $325          that           came          out of the                                                     24          M)!).          Explain what Cash At)P is.
13               25        account,           whose             corporate                     filings        are     you        paying            there?                                             25                     A.               Well,            it's     cash              -- I have                 a Cash              App          account

                                             GEORGIA                  WINEGEART                         & ASSOCIATES                                                                                                                   GEORGIA                   WINEGEART                        & ASSOCIATES

             -,_-34                                                                                                                                                                                                                                                                                                                                                  36

                   I                   A.          Like        I said,                 I don't          recall,               probably                because                                              I     where                it's      like       a -- what                      is that             called?                 Itas        called

             ', 2          that        account                -- this                is what            I -- I do              transaction                                                                 2     -- adually,                        itas ATM                 card,          but           you        use            it as needed,

             ,3            relatedtothebusinessandthingslikethatandI                                                                                                          (>                           3     and        it is not                like            your           bank          card          or       your          credit             card

             i 4           accept            from            ciients,                 I don't           use        to     pay         myself              a check.                 0                       4     because                     it does             not         have          too            much            information                          if you            use
             I
    13:09,            5    So basically                      I used                the        account,               whatever                   money               that's                 13:1            5     it on          online               and         thatas              reimbursed.                           So        it's        like      a --

                      6    in,    to        pay         my     other                 expenses                as well.                                                                                      6      but      itas         not         an        actual               account;                it is an                 actual          like        a

                      7                Q.           So would                   it be fair            to say          this       $325            was an                                                     7      debit,             debit           account.

                      8    expense                of AAA           or you              individually?                                                                                                       8                Q.                So that                $1,500              went          to your            Cash            App       account,
                      9                A.           Yeah.             That's                  probably,                 like        I said,           some                                                 9      correct?

    is.og' 10              clients           come             to     me              and       pay      me         cash.             And         then         I use          the           13 j       "I O                  A.                Yes.            Correct.

                 11         account,                either           they              sell       me     or        things            like       that.          So I                                   1 al                   Q.               Next         is a hundred                        thousand                  dollars            that         went

             112            use      that          account                    to      pay      -- or I probably                             use       it to        pay                                12          to Professional                        Bank,               Windmill                Title.          Do you                 know         what

                 13         something.                                                                                                                                                                13          that      was              for?

             jl4                       Q.           And        if you              got      cash,       you         always            deposited               :t                                      14                        A.            That            was           Iteb          directed                 me          to     wire          that         money.

    ia.ogis                 in your          bank            account                 so you         wouldn't              defraud               the     IRS,                                13:1      15                        Q.            And        that          was          for-go                 ahead.

                 16         correct?                                                                                                                                                                  16                        A.            That            hundred                    thousand                    dollars                was          a wire                that

                 17                    A.           Yeah.                If        I have           cash.            Like           I said,           I don't                                         17          was           directed                 by          Iteb          in the            past.

                 18         recall          what             was         the          transaction                    for.                                                                             18                        Q.             For a piece                    of property                     in Miami,                or do you

                                                                                                                                                                                                      19          know?




                           fl
     -ii-'=-::E:I:'.'=,:,:Ho,F'o'
                                                                                                                                                                                            1             20
                                                                                                                                                                                                          2'l
                                                                                                                                                                                                          22

                                                                                                                                                                                                          23
                                                                                                                                                                                                                  but

                                                                                                                                                                                                                  I did
                                                                                                                                                                                                                                A.

                                                                                                                                                                                                                            I did




                                                                                                                                                                                                                                Q.
                                                                                                                                                                                                                                  not-I
                                                                                                                                                                                                                                               I believe

                                                                                                                                                                                                                                               not       --

                                                                                                                                                                                                                                                         do
                                                                                                                                                                                                                                                                 I was

                                                                                                                                                                                                                                                                     not
                                                                                                                                                                                                                                                                            it's     a ptece

                                                                                                                                                                                                                                                                                    not

                                                                                                                                                                                                                                                                                know.

                                                                                                                                                                                                                                               The next one is $37,581.E1"). What's that for?
                                                                                                                                                                                                                                                                                               part
                                                                                                                                                                                                                                                                                                           of

                                                                                                                                                                                                                                                                                                              of the
                                                                                                                                                                                                                                                                                                                    property

                                                                                                                                                                                                                                                                                                                                transaction.
                                                                                                                                                                                                                                                                                                                                             in         Miami,

                                                                                                                                                                                                                                                                                                                                                                      So




    .,.1:,:,J:Et,:if::::':.4f,f:::IJJ,Iil:=I:f.:::,:notthae.
                                                                                                                                                                                                          24                     A.            Well,            that          was          Iteb           asked            me          to        wire          that

                                                                                                                                                                                            13.           25       money                 to     a company.                               And         so     that's             when               I told         him            that

                                              GEORGIA                     WINEGEART                      & ASSOCIATES                                                                                                                    GEORGIA                      WINEGEART                        & ASSOCIATES

    9 ol 19 sheets                                                                                                                                                           Page      33 to 36 of 74                                                                                                                                04/15/2(124                      01:37:11           PM
            Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 9 of 18


                                                                                                                                                       37                                                                                                                                                               39

                   4       -- yeah,            so that              was      Itetls           transaction.                                                                             I                            THE WnNESS:                           Sorry.

                   2                Q.          Any         idea what             that       company              is and            does?                                              2                            MR. OSBER:                      Do you           remember                   that    wire      }

                   3                A.          Well,         what          he told             me,        he     told         me that                 was            a                3                 attached            to your              leg?

                   4       something                  he purchased                          and      he    needs              to pay             for        it.       And              4                            MR. TOMCHIN:                          It's     not working                  very     well.

1                  5       so all        I had         to do was                  send         the        money               and         then         he will                13.1     5                            MR. OSBER:                      x'm golng               to turn         It on In a

                   6       ship      whatever                   it was.                                                                                                                6                 minute.

                   7                Q.          Okay.           How         about           the next            thousand                 dollars         for                           7                             MR. TOMCHIN:                          Keep         pushlng           It.

                   8       ]-King         Best        Cleaning            Services,               what's         that?                                                                 8        BY MR. TOMCHIN:

                   9                A.           That        was          my-that                   was         in-all               the     later                                     9                 Q.         Then        the     $850             to Wells           Fargo         Business,            another
131           10           transactions                     where           I discussed                    it with            Iteb         and          he told                       atO       one for you,               right?

              If           me       at that           time,          and      I told           him        that         I need             probably                                    11                 A.          The       $0so'?

              12           $6,000,              and         he told          me        that's         okay,            I    can use it. That                                          12                 Q.          Yeah.        Is It 650?                 Whatever                that        number           Is.        I

              13           was       my         transaction.                                                                                                                          13        think     it's 650.             You're            right.

              14                     Q.          And        that's        for your            cleaning           service,             correct?                                        14                 A.          Yeah,        650.              Yes.

13            15                     A.          Correct.              Yes.            It    was       from            Iteb         for     me         to                     13.1    15                 Q.          Foryou?

              16           spend           the        money.                                                                                                                          16                 A.          Yes.

              17                     Q.          And        the same              with        the     next       one,         you sent                 It to                          17                 Q.          Foryou?

              18           your      wife        ror her checking                       account,            a thousand                    dollars?                                    18                 A.          Yes.

              19                     A.          I did         not        send         it to her           because                  we      have              the                     19                 Q.          And       another              transfer          of 554,000                  by Mr. Muller

13.1          20           account              together.                  I don't            know.              I probably                 transferred                       13:'1   20        to your            account,         correct?

              21           the      money              and          use     it,     but       that        was          not     spectfically                       I                   21                  A.         Yes.        That             was        correct.

              22           sent       it to          her.                                                                                                                             22                  Q.         Then        a recurring                 transfer            of $25,          12/15,

              23                     Q.          How         about          the      purchase              authorized                for                                              23        whatas         that?

              24           $3,001.75,                 what          was     tliat       for?                                                                                           24                 A.         Recurring                    transfer?                 That's          probably               -- the

13.1          25                     A.          Wlitch             one?                                                                                                  *   'ia.i   25        $25?

                                              GEORGIA               WINEGEART                     & ASSOCIATES                                                                                                     GEORGIA            WINEGEART                      & ASSOCIATES

                                                                                                                                                        38                                                                                                                                                               40

                       I             Q.          $3,001.75                 purchase               authorized                 on 12/7.                                                      I              Q.         Yeah.          It says              recurring            transfer,            AAA.

                       2             A.          I believe                that         was        part       of the            money              that            I                        2              A.          I dorlt          really             recall         that.

                       3    asked             Iteb        and       then          he told           me.          So that             was          part            of the                   3              Q.          Was that               -

                       4    money              because               I didrlt               disclose            that         with         (inaudible).                                     4              A.          Yes.

    1                  5

                       6
                            And       he said

                                     Q.              And
                                                            -- he told

                                                             that's
                                                                                    me

                                                                           for a car payment;
                                                                                              to take            that         money.

                                                                                                                           Is that        what
                                                                                                                                                                                           5

                                                                                                                                                                                           6     Services?
                                                                                                                                                                                                          Q.          $31000           again            for ]-King            Best        Cleaning
                                                                                                                                                                                                                                                                                                                                        l
                   ' thaesfor"
                       8             A.              Yeah.           That         was         a car        payment,                  I believe.
                                                                                                                                                                          M                "8    said,         you
                                                                                                                                                                                                                    "a' Thatwasm"ra"action
                                                                                                                                                                                                                        will
                                                                                                                                                                                                                                   """a"
                                                                                                                                                                                                                                  see            below           where           I had           deposited               the

                       9             Q.              Foryou?                                                                                                              C                9     money.

    1          10                    A.              That       is correct.                                                                                                    13 1    10                 Q.          What        is ]-King                Best      Cleaning             Services?

               I '1                   Q.             And     the      second            one is for              you        as well,         the                                        '11                A.          It's      a cleaning                   service             and        -- yeah,             it's        a

               12           2,529.75,                correct?                                                                                                                          12        cleaning              service.

               13                     A.             Yeah.           So basically                   that         money-if                    you                                       13                  Q.          Do you          own           part        of that         company,               or do you                use

               14           scroll            down          because               you're            going         to see             less         than            a                    14        them          to clean          certain            things?

    1          15           thousand                  -- that          was          not       literally           given             to     me.          It        was          13.1    15                  A.         That        was             my       company,                 but         it is no       longer              tn

               16           Itke      pretty              much         an advance.                        And         then          with         the          $10,000                  16        existence                 and      that           was           closed          during           the     COVID                  due

               17           that         was          deposited               to the            account                in order             to cover                                   17         lack        of employees,                        things            like     that.

               18            those            expense.                But         we        can      go    on.                                                                         18                     Q.       Was your                  wlfe      Involved           In that           company?

               19                        Q.          And     I'll    keep         going.            The      next          one was a wire                                              19                     A.        No.

                   20       transfer            fee        and there              was        $140,000             wired         to Miami                                        131        20                           MR. TOMCHIN:                             All right.          Come          on down,
                             Realty           Company,               another-21                                                                                                                               Taylor.

                                         A.          That       is correct.                   That        was          another              escrow                                         22     BY MR. TOMCHIN:

                             department.                                                                                                                                                   23                 Q.        Another              thousand               dollars         to the         Prderred

                                                     MR. OSBER:                     lohnny,           wait       for        Mr. Tomchin                     to                             24     Checking              Account,                 correct,         to your           wife?

        i                                stop        talking         before          you       do.                                                                                         25                 A.        wett,         it's        not       to     my       wife.         That          account

                                               GEORGIA                WINEGEART                     & ASSOCIATES                                                                                                     GEORGIA             WINEGEART                      & ASSOCIATES

    04/15/2024               01:37:11                PM                                                                                                           Page 37 to 40 of 74                                                                                                                              tO r:>r19 sheets
    Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 10 of 18


                                                                                                                                 41                            -.-.-                                                                                                              43
                                                                                                                                                             I
                  1            belonged           to both            of us.     I probably              transferred              a                                     1         that you paid FPL; is that                       correct?

                      2        thousand           dollars,           but that        was       not     specifically             to her.                      I          2                A. I didn't say I did not have anything in
                      3               Q.         To both?                                                                                                    ! 3                 writing          at that         time,     but     I don't           recall     I have       a copy
                      4               A.         Yes.                                                                                                                   4        for it now              because          that     was     a while             back     and    so I did

13:                   5

                      6
                                      Q.

                                      A.
                                                 And then -

                                                 A couple            of deposits           to both           of us.
                                                                                                                                                       13:23

                                                                                                                                                             l
                                                                                                                                                                        5

                                                                                                                                                                        6
                                                                                                                                                                                 not -- I probably

                                                                                                                                                                                 it, I can check
                                                                                                                                                                                                                     -- I'm

                                                                                                                                                                                                                  and check,
                                                                                                                                                                                                                                   not    promising

                                                                                                                                                                                                                                         but   it's     not
                                                                                                                                                                                                                                                                 that

                                                                                                                                                                                                                                                                 easy
                                                                                                                                                                                                                                                                         I can find

                                                                                                                                                                                                                                                                         paying
                                                                                                                                                                                                                                                                                                       'Vl
                      7               Q.         Whal_'S the 166.92,                 What'S that             far?                                                       7        bills     and find          documents.                  And     so-because                   I believe      I

                      8               A.         That's        probably           paying          FPL and            probably          for      me           I              8    told him the account
                                                                                                                                                                                                   waspaid, he wentonline and said
                      9        or Iteb          because         I used         to pay bills            for     him.                                                                                                                                                                                    Yff'
i               10                    Q.         FPL is Florida             Power and Llght?                                                               190'heaQ."o'R"igfh"t.asAtptah'ids
                                                                                                                                                       13'21                2po'oinotoin
                                                                                                                                                                                 time you realized
                                                                                                                                                             I
                 jl                   A.         Yes.      Correct.                                                                                          I 11                Mr.Mullerhassuedyou,yourwife,AAA,Res,all your
                12                    Q.         And so you had FPL at that time                               with your                                     ! 12                companiesfor whatMr.Mullerhasstatedis an improper
                13             home?                                                                                                                         ! 13                use or his money                  he sent to AAA, correct?

                14                    A.         We had tt with                 my home,               my business,                  and       also          )     14                      A.       Well,         not that         one -

1                I 5           I used         it for     FPL.                                                                                          1a::_ll,
                                                                                                                                                            15                                      MR. OSBER:                No, no, no, no.                  Johnny,     Johnny        -

                16                    Q.         Let me ask this.                 Do you have any wrltten                                                          16                               Cindy,         read back the question.

                17             documents            from       Iteb where            he asked you to pay his FPL                                             i 17                                      MR. TOMCHIN:                Listen to the question.                     Sorry.
                                                                                                                                                             I
                18             account          or any other           account?                                                                              i 1 8                         I want         you to listen to the question                         and answer         the

                 19                     A.        Most      of our conversation                        would          have       been          by                      19                  question.

1                20            What's           App      or he would              have        called         me.                                               I       20                                     (Thequestionwasreadback.)
                 21                     Q.        Do you still have the What's                          App account?                                         '         :j                           THE WITNESS:                   Yes, I am aware                 of the loss.

                  22                     A.       Yeah.         I still       have      the    account.                                                                22         BYMR.TOMCHIN:

                  23                     Q.       Do you still have his messages,                              from      Iteb?



    1
                  24

                  25
                                         A.

                               everything,
                                                  I might

                                                         but

                                                GEORGIA WINEGEART
                                                                     have

                                                                 I should.
                                                                               some.          I don't



                                                                                        & ASSOCIATES
                                                                                                             recall          if I have

                                                                                                                                                         ::asbeoQ'you,R'ygohuLr
                                                                                                                                                       '13:!
                                                                                                                                                         25 givemealldocuments
                                                                                                                                                                           toshow
                                                                                                                                                                                transactions
                                                                                                                                                                                         or
                                                                                                                                                                                                  GEORGIA WINEGEART                        & ASSOCIATES

                _-%                                                                                                                  42
                                                                                                                                                                   l,/-'l                                                                                                              44
        !             1                           MR. TOMCHIN:                  Taylor,        write that down too on                                              I I            communications                   you had with Iteb                   and my client-or                 my
        l
        i                 2              the list,       please.          Okay.      Come down                and up a little                                                2    dient,         correct?

                                                                                                                                                                             3             A.          Correct.
        I 3                              bittomake
                                                 sureI have
                                                          everything.
                                                                  Right
                                                                      there.
                                                                                                                                                                             4             Q.          And at that point                 in time you have given                   me
            I             4     BY MR. TOMCHIN:
            I
    13:2j                 5              Q.       The withdrawal                of $2,000            made       in a branch                                                  5    nothing          when       It comes           to the $2,000            or most of these

            i             6     store,        is that    a cash withdrawal                    by you?                                                                        6     payments              so far, corred?

            : 7                          A.       Yeah.          I did take           cash        because            he asked             me to
                                                                                                                                                                   t7                       A. Well,I sent--
            i             8     do something                   for    htm.      And        then      I went           back      to -                               I
                                                                                                                                                                   I
                                                                                                                                                                             8                           MR. OSBER:              torm.

                                                                                                                                                                             9                         THE WITNESS:                 Well, $2,000,                and I don't-I
            'l 9 because    metopay
                      hewanted      forthe--not
                                  FPL         justfor                                                                                                   13   2jlO                           said I'm         not sure if I have receipts                        for R.

"l:',                          ::\':::",".::t;.on"":::,a::,';::':i:"'::::.,;:o:':go
                                                                                                                                                                   I
                                                                                                                                                                        11         BYMR.TOMCHIN:                                                                                                       (2%
                ' *2            to store          and      make         that      payment            and       -- because             I was                        1 12                     Q.           As yousit here-

                  13            trying          to do it, but             I couldrlt.           So I had to go to this                                                  13                               MR. OSBER:              Both of you can't                be talking       at

                  14            store         to make          a large         deposit         towards              the...                                              14                  the same time;                  you can'L           Both of you can't                be

                                                   But did you keep the deposit from FPL?
                                                                                                                                                        '3'2'l
    13:2:115                             Q.
                      16                 A.        I don't           -- I don't       thinlc       I kept          the   documents,                         '165 fa'kin]goha:nkyh,ewsaaimt
                                                                                                                                                                           efofr
                                                                                                                                                                             mthee                                                             question,please,please.
                      17        but      I did     pay the            FPL for        some         time,       for     a couple            of              I        I
                                                                                                                                                                            17              Mr. Tomchin,                  please    let my client              answer.

                      18        months.             So basically               the    account           was         -- so they            collect                           18                           THE WITNESS:               1 wasn't           flnished.

                      19        whatever                for the       month,         but      it didrlt         have         enough            money                        19                           MR. OSBER:              I understand.                 I just   yelled    at

    1                 20        in the          account         for     the    coming           months.                                                  i                  20              him too.

                      21                   Q.      Let me paraphrase                    and make             sure I got it                                                  21                           MR. TOMCHIN:                It's okay.           It's hard to me.

                      22        correct.          You went            to the bank and got $2,000                             cash?             M                            22              Thatas why I wanted                     to do this in person.                     It's not

                      23                   A.      Uh-huh.                                                                                     c.                           23                  your     fault.     I'm not complaining.                       Go ahead          and

                      24                   Q.      You then went and paid for potentially                                      the FPL                                      24                  finish    your answer,             Mr. Prevllus.

    1                      _    accounts           of Iteb       and you have nothing                        in writlng        showlng                   1                  25                           THE WnNESS:                 I said in the wires.                 So I have

                                                 GEORGIA             WINEGEART             & ASSOCIATES                                                                                             GEORGIA WINEGEART                          & ASSOCIATES

    11 of 19 sheets                                                                                                                         Page 41 to 44 of 74                                                                                                  04/15/2024            01:37:11   PM
  Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 11 of 18


     1%                                                                                                                          45                                                                                                                                                           47

                       I               all wlres           transactions.           And they all also attached                                                    ,               1                 A.         Corred.

     '                 2               to the bank statement.                          So when we got to the                                                         I 2                           Q.         Are you telling           me that it was never                    used by

                       3                 $2,000,          I said which           one has money?                  But that        was                                 '           3         Res Investment                for anything?

     '                 4                 paid on behalf              of FPL that was paid.                   So I don't                                              ',          4                 A.         I would       say the           only     money           that's         spent        on

1 3:2A                 5                 recall-I           don't     know       if I have a copy of It, but                                              '13:2'l                5         that      300,000            is like 50-that                 was like 50-something
     ,'                6                 the account           was paid.           That's         pretty     much-all                                                            6         thousand             in the     beginning               because           the 195           I did send

                       7                 the other          transactions,              internal     wires,       I have                                              '           7         back,        did send          back      to...
     I
     a                 8                 copies       of them.                                                                                                       i            8                Q.         What did you use any monies                            of this $300,000
                                                                                                                                                                     I

     i                 9        BY MR. TOMCHIN:
                                                                                                                                                                     I            9 inResInvestment
                                                                                                                                                                                                for?
13:26 10                                 Q.        Let me go on.               On 12/20           did you pay $452.26                     to              13:29                  40                A.          Did I use any of the                    money?

     )            ll            your Capital              One account?                                                                                                   I alI                     Q.         You said 50 or some.                    I haven't         seen the

     i 12                                A.        Yes.                                                                                                                  il2               records           on that,     even though              I requested          it.     So do you

     ' 13                                Q.        The next day, did you pay $504.94                                   to the                                            i       43        have -
     i                                                                                                                                                                   ' 14                        A.        Yeah.       I will       provide        that.
     ; 14                       Walmart          at Margate?

13 2k 15                                 A.        Yes.       That       was      my mine.               Yes.                                             13:29 15                                             MR. OSBER:            Johnny.
                                                                                                                                                               i
     ' 16                                Q.        That's      your charge,              correct?                                                              i 16                        BY MR. TOMCHIN:

     ' 17                                A.         Yes.                                                                                                                 fl7                         Q.        Let me ask you this.                   Did Res Investment have

     ' 18                                Q.         $780.90,         another           payment       the next day to your                                                    ', 1 8        a Space Coast credit                   account,           correct?

     I 19                       Capital         One mobile           account,           correct?                                                                         1.19                        A.        Correct.

13:,!:7 20                               A.         Let     me see.          Yeah.         The      780,        yes.                                      13'2"                  20                  Q.        You still have those                records,         correct?

     j 21                                Q.         And then Mr. Mutter sent you another                                                                                 121                         A.        Yeah,      I should.
                                                                                                                                                                                                                                                                                                                   l/n
                  22            277,130-                                                                                                                                     I 22                    Q.        And I asked for those,                   but didn't            get them.

                   23                    A.         Not     sent      to me.                                                                                                 f23            Were your            planning        on giving         them        to me now?

                   24                               MR. OSBER:              lohnny         -                                                                                 : 24                    A.        Yes, I will          discuss          that     with      my lawyer.
                                                                                                                                                                I
                                                                                                                                                           13:36 25                                  Q.        And what          do you think           you used any of the
13.425 BYMR.TOMCHIN:                                                                                                                                            L_. -
                                                GEORGIA WINEGEART                         & ASSOCIATES                                                                                                       GEORGIA WINEGEART                       & ASSOCIATES

          ,,,.                                                                                                                      46                                                                                                                                                          48
                                                                                                                                                                 r

         '                 al             Q.        It was sent to AAA, correct?                                                                                                     1      $300,000            that     was sent to Res Investment                           for?

                           2              A.        Yes.       He sent           the     money           on behalf         of Iteb                                                     2             A.         The money            was       sent         back.

          :                3    because             Iteb      spoke        to him.                                                                               :                     3             Q.         You said there              was some money                    that     may have
          I
          ,                4              Q.        Okay.          Fine.    Then there's             another           FP&L for                                      '                 4    not been sent back immediately.                                 What       did you purchase

                                                                                                                                                           *a'ao                       5    for Res Investment?
 13:2!
             II
                           5
                           6
                                322.72,
                                          A.
                                                 correct?
                                                    Yes.       Correct.
                                                                                                                                                     m         i
                                                                                                                                                               .                       6              A.        Oh, the       $57,000,             meaning             is to be used               as part

             i.            7              Q.        And is that            for your power            and light,          or do                       C               :                 7    of the           purchase        of the         property           in Port         St.      ucie.

                           8     you know?                                                                                                                           i                 8                Q.      That was for the property at Port St. Lucie,
                           9              A.        That's         probably            for my business.                                                                                9    correct?                                                                                                           :

 13'27 10                                 Q.        $300,000,            where         did that go to?                                                     13..j0 10                                    A.      Correct.         And        that      was      discussed              with      Iteb         I
              ' ll                        A.        $300,000?                                                                                                            ,        ll         before           I transferred             the    money.           It's     not         like     I did it

              ',4 2                       C1_ Yes.            Do you see the next one?                                                                                   . 1 2               without            Iteb's     consent.
                                                                                                                                                                         i
              ' 13                        A.        Oh, 303,000,                 yes.      That      was        authorized             by                                . 13                           Q.      Did you sell that property                      for a gain?

              :14                Iteb.          And       I told     him     I was         moving          $300,000              to my                                       : 14                       A.      I did sell        the       property,          but     the      goal         was     not

 13:2(             15            personal             account         and        he was           okay     with        it, but     he told           me
                                                                                                                                                           13:311
                                                                                                                                                               15 tosell.But,yes,I endupselling
                                                                                                                                                             ; 16    Q.
                                                                                                                                                                                                      it.
                                                                                                                                                                         And I'll ask that question again before Steve
                   16            to make            sure.          And     he has a transaction                        comingin,               and
                                                                                                                                                                                  17         yells        at me and have that questlon                         read again.                  Did you
                  lal7 wewould
                             usethemoney
                                      topayback
                                              andit wasused
                                                          for                                                                                                                I
                  ' 18           htm       later      on.                                                                                                                    I 18            sell it for a gain?
                  I
       119                                 Q.         What     did you use the 300,000                          for?                                                         '. 19                      A.       I did     make         a profit,       but     slightly             -- slightly
       I
 13'28t 20                                 A.         The     300,000            was      in the         account,         but      very                     1313'l                   20      tow.

                  ' 21           quickly           the      money          was     sent        baclc to Wells              Fargo,         195.                               '       21                 Q.       How much?

                       22        And       then        also     I did       pay for the             thousand             dollars         wire                                122                        A.       Z will have to check on the documents to
                  !23            instruction.                 So basically              the    money            did not      go for            my                            ' 23            properly            answer          that       question.

                   124           use.


 13'28125  It went
        Q.GEORGIA toRes Investment,
                                  correct?
                  WINEGEART & ASSOCIATES
                                                                                                                                                            13:3122_:,
                                                                                                                                                                not?. you
                                                                                                                                                                   Q.And
                                                                                                                                                                       have
                                                                                                                                                                         those   you
                                                                                                                                                                           documents
                                                                                                                                                                              still,
                                                                                                                                                                                do                            GEORGIA WINEGEART                        & ASSOCIATES

 04/15/2024                      01:37:11           PM                                                                                     Page 45 to 48 of 74                                                                                                                               12 of 19 sheets
 Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 12 of 18


             .---                                                                                                                                           49                                                                                                                                                             51

                        I                A.       Yes,           I do.                                                                                                                  .    1        BYMR.TOMCHIN:

                        2                Q.       And           I think           I asked            for     those.            You're         going                                          2                Q.            And       would          it be fair          to say-I                 think         I just

                        3       to go ahead               and          get      those          to your          attorney               as well,                                              3        looked-every                      deposit            in that             month         came           from

                        4       correct?                                                                                                                                                I    4        Mr. Mulleri did it net?
13::31                  5                A.       Yes.            Correct.
                                                                                                                                                                               13.4          5                A.            Yes. And I don't -- yeah, probably that
                        6                                                            (Briefbreak)                                                                                   .         6       was      mostly...

                        7                         MR. TOMCHIN:                               Let's         go on.          Taylor,            come            on                              7                Q.           And       we're        coming             to deposits                that        you        made,

                        8                down         some.                 Stop       right        at the          300,000,                if you                                  '         8       and     I'll        go through            at least           what          1 have.            To be fair,

         '              9                would.                                                                                                                                         '     9       I'm    going           to go over               all of the               transactions                that      I have

13:4f 10                        BY MR. TOMCHIN:                                                                                                                       M        13:4)i       10        to and          to make           sure         I understand                    wliat        they        are.

                     1l                  o.       oo you see the $300 withdrawal?                                                      s think I                      (,            : I '1                     A.           Yes.

         : 12                    might        have        asked             you       this        already,           but       that     was            another                              "12                Q.           This      beginning               balance             here,          $48,215.23,                for

                     13         withdrawal                by you?                                                                                                                           13        the    next           monttr           is that          correct?

                     14                  A.       Yes.            The          $300,              yes.                                                                                  ' 14                   A.           Yes.        Correct.

13.4'l               15                  Q.       What's               the 101,728?                                                                                            13.46        15                 Q.           And       there        were         deposits               of 503,310,                 correct?

         . 16                            A.       Yeah.                That           was          a transaction                      for      him.               And                       16                 A.           Correct.

             ' 17                don't        know          the         full         details,            but     he asked                    me         to       do                     . 17                   Q.           And       withdrawals                  of 550,913.39.                        So only           about

             ' 18                wirefund.                                                                                                                                              ' 18          $600           left in tlie account?
             :l 19                       Q.       All right.                   But     it wasn't             ror you?                                                                   - 19                   A.           Correct.

                                                                                                                                                                               13:47        20                              MR. TOMCHIN:                         Come            on down,               Taylor.
'13:4t
   20
   21        I
                                         A. NO.
                                         Q. Do you think that's 3ewelry, or do you know?                                                                                                i   21        BY MR. TOMCHIN:

                      22                          MR. OSBER:                           The         101?                                                                             i 22                        Q. A thousand dollars CashApp?
                      23                          MR. TOMCHIN:                                Yes.                                                                                  ' 23                        A.          Yeah.            That          was        me.

             124                                  THE            WITNESS:                     I don't          know,           but     I do have                   the                  i 24                    Q.           All right.            $10,000             deposit?
             I
                                                                                                                                                                                        I
                                                                                                                                                                               13:47 25                         A.          That        was          my       transaction,                       received               from      one        of
 q:i'a?                                  wirerecord.
                                                  SoI willbeproviding
                                                                   thattomy                                                                                                         L-..___
                                                 GEORGIA                WINEGEART                        & ASSOCIATES                                                                                                     GEORGIA             WINEGEART                        & ASSOCIATES

                                                                                                                                                             50                                                                                                                                                             52


             i I                         attorney.                                                                                                                                               1     my      clients,             something.

             i              2    BYMR.TOMCHIN:                                                                                                                                                   2              Q.           Okay.           But      you       put        money           back         into       this
                 I
                 I          3            Q. So you have the wire, but you're not sure what                                                                                                       3     account?


                 i 4 it'sfor?                                                                                                                                                   13.47        '5
                                                                                                                                                                                                 4              A.

                                                                                                                                                                                                                Q.
                                                                                                                                                                                                                             That

                                                                                                                                                                                                                             And
                                                                                                                                                                                                                                        is correct.

                                                                                                                                                                                                                                       then        the      next         one       is a 30,842.95.
 13.44                      5            A.          NO.

                 :          6Q.There'saMacy'spurchaseof3,834.                                                                                                     c5                         :6                 A.           That       was           Iteb.

                 I7                       A.         That was mine.                                                                                                                              7               Q.          You're          not      sure       what           tl'iat's     for,       though,            do

                 I          8             Q.         What             did      you      buy        for      that?                                                                                 8    you?

                 i 9                      A.         I believe                  I --     that was                something                         I                                              9              A.          I'm       not      sure,           but        it sounds                like       the        same

 13.44:10                        from         Macy's,             and          I don't              really           recall,          but      I did              buy           13:47       :10        previous               transaction.                       So that               was        -- that            one        was    did
                 I                                                                                                                                                                          I
                     ' ll        something                  at        Macy's.                                                                                                               1 1        by     him.

                 :12                      Q.         It was            the      day          before          Christmas.                 Was            it                                    il2                 Q.          278,152.25                    came        back         in from           Mr.         Muller        on -

                     , 13        something                for     the        family?                                                                                                         113                 A.          Yes.
                                                                                                                                                                                             I
                     )14                  A.         It    could               be.      I'm         not        too      sure.                                                                114                 Q.          And       then          the      Cash         App       again          to you          of $226,

 13 45! 15                                Q.         357.51-well,                            let     me go back.                      The                                       13:48        il5       correct?
                     j' 16       636,985.36,                    for    real        estate           for Iteb?                                                                               '16                  A.          Yes.

                      17                   A.        Yeah.              That           was          -- sorry.              Yes.             That            was         I                    17                      Q.      What's            the       20,000            -

                      18          did,     I believe,                  one         of them                 is closing.                And,             yes,        that                      48                      A.      That        was          Iteb.

                     '19          was      for    Iteb.                                                                                                                                     :19                      Q.       Whatwastliatfor?

 13'45120                                  Q.        The         357.51,              what's             that for?                                                              13'48        20                      A.       He      directed                me      to        send       that         wire.             And     then       I

                      );'1                 A.        That's             probably                   one         of the          Capital                 One                                   21        believe               that's       --       I told          him          I do       not      want           to     send        an

                      122         payments                 and         it used               to     be direct              from             that            account.                        :22         international                    wire            because                that       was          an      international

                      123                  Q.        That         was          for you             again?                                                                                   . 23       wire.


                      !24                  A.        Yes.                                                                                                                                   a 24                     Q.       Repeat           your         answer              to me.           I didn't          quite

 13.45 125                                           MR. TOMCHIN:                              Come            on down,               Taylor.
                                                                                                                                                                                 '13:4125
                                                                                                                                                                                       catch
                                                                                                                                                                                           that.
                                                 GEORGIA                    WINEGEART                      & ASSOCIATES                                                                                                    GEORGIA              WINEGEART                       & ASSOCIATES

13 of 19 sheets                                                                                                                                                       Page 49 to 52 of 74                                                                                                         04/15/2024                01:37:11             PM
 Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 13 of 18


               ----                                                                                                                         5'l                                                                                                                                                         55

                   I               A.          No.      I said         --                                                                                                     ' I            money            was     returned             to the         account.

                   2               Q.          Let's     start     with       the question.                    It was Iteb.                                                   : 2                   Q.          But at this           polnt        in time       you     can't        remember

        :          3       What's        the $20,000              for?                                                                                                        i      3       why?
        I

        '          4               A.          I don't         recall         what         was         it,    but     that       was                                                 4              A.          I cannot            remember,                  unfortunately.                    I can                     15
13:49              5       directed            by Iteb.           He sent               me      the      information.                                            13:52               5       probably           dig        into     it and         remember.                  Probably            I can        dig

                   6                Q.         And then           there       was        a wire         fee of 45 bucks                    for                                '      6       into    that       later        on.      But      for       now         I don't       remember.

                   7       that    one'r                                                                                                                                      . 7                    o.         Then        there's        $195,000.                 What's      that?
                                                                                                                                                                              I
        '          8                A.         Correct.                                                                                                                       o 8                    A.         That        was       from         the      $300,ODD.              So I returned                     it

        '          9                           MR. TOMCHIN:                       Come         on down,              if you would,                                                   9       back     to the          account.

             10                     Taylor.                                                                                                                      1 3:52' 10                          Q.         195?

                                                                                                                                                                              ' 1l                   A,         Yes.

        : aHBYMR.TOMCHIN:
        . 12                        Q.         $1,500        next        was        cash       to you?                                     (_5                                    12                 Q.         Come          on down          158.25,           what's        that?

              '13                   A.         Yes.                                                                                                                               13                 A.         That's            probably           my      purchase.                The       155,      yes,        my

        ' 14                        Q.         And then           $850,           what       Is that?                                        l-l                                  14         purchase.

13:49         al 5                  A.         I don't         remember,                   but        probably             cash        to me.                        13'52        15                 Q.         And then             there's         a Cash          App agaln         of $1,150

              '16          That       was       my      transadion.                                                                                                           :16            back     to you          again?

             17                     Q.         And      then      a $14,000               wire        transfer,           what       is that                                      17                 A.         No.         That's         something                 -- yeah,         that's        the      Cash

              18           for?                                                                                                                                               ' 18           App.

              19                    A.         That's        Iteb.                                                                                                                19                 Q.         Foryou?

13.49         20                    Q.         Any      idea what             he was buying                    there?                                                13:53        20                 A.         Yes.

              21                    A.         That       was        an international.                          He told              me.         That                         : 2al                  Q.         And then             there's         a 258.74           Best     Buy.       That's

        '     22           was      probably              jewelry,             a watch,               or I don't             recall.              I                               22         another           charge        by you?

              23           don't         know.                                                                                                                                ' 23                    A.        Correct.
                                                                                                                                                                              I
               24                   Q.         $1,500,           the     next       charge,           was Christian                                                           : 24                    Q.         And then            two      wire       transfer        service        cliarges?

13:5p         25           Fellowship.                What       is that?                                                                                            13.5j 25                         A.        Yeah.             That's          related        to Iteb.

                                           GEORGIA             WINEGEART                   & ASSOCIATES                                                                                                        GEORGIA             WINEGEART                & ASSOCIATES

            ,-.-                                                                                                                             54                                                                                                                                                           56

                   1                A.         That's          probably                -- that         was          my transaction.                                                    1              Q.         And then            you      bought           insurance,          your

                       2            Q.         All rlght.          You,        personally,               or AAA, or Res                                                                  2    Progressive             Insurance             payment            of 1,857?

                       3   Investment?                  I want         b:i make           sure        Iam dear            on that.           Can                 '                       3            A.         Thatas           correct.

                       4   you tell?                                                                                                                                                     4                          MR. TOMCHIN:                    Keep       on coming,             Taylor.

 13.50                 5            A.          What         is it?         Can        you       answer             that       for    --                              i:iss              5    BYMR.TOMCHIN:

                       6            Q.          Well, We have a lot of different entities                                                             M                                  6            Q.            What's        the 466,396.7')                for?

                                                                                                                                                                                         7             A.           That      was      Iteb,         and       he says          when           to pay        title
                       7 here.Wehaveyou,yourwife,AAA,Res
                                                       Investment,C
                                                                                                                                                                                         8    for    one       of his         purchases.
                       8 Investment
                                 Infinite.Was
                                            thatforyoupersonally? 45
                       9            A.          All     of them             are        a part         of the         offices         of Res.                                      ' 9                  Q.           One of his pieces                 of property              dealing       with

 13.50 10                            Q.         Okay.         What          did you give                Christian            Fellowship                               13 53 10                South         Florida?

               11           $1,500         rr:>r'>                                                                                                                                .1 al                A.           Probably.

               12                    A.         Probably               an offertng                or somethtnglike                           that.                                 12                  Q.           Do you         have       any paperwork                   on any        of that?

               13           It's    a church.                                                                                                                                      13                  A.           I may          have       some          paperwork,                but       I was        not

               14                    Q.         It was a return                   of $19,200                 or a wire.          What                                             ,M          basically             dealtng          the      transaction.                    So I don't           have

 13 51 15                   wire    was        that?                                                                                                                  13'54'15                 much.           But      I do have              a wire          and      probably            some

               16                    A.         I believe              that       was        a transaction                   I have              done.                            '16          communtcatton                       when           they      asked         me     to send            it, yes.

               17           That         was     wired,          that         money.              I dorlt            remember.                        And                         '17                    Q.         Then      there's         $8,000.           What's         that      for?

               18           for    whatever               reason,             the       information                   was       incorrect                and                       18                    A.         That      was         Iteb.

               19           the     wire        was       returned                to     me,      but        that      was       probably                   my                    ' 49                    Q.        Any idea what                 that      was?

 13:51             20       transaction.                                                                                                                              13:54:         20                  A.         1 don't         recall,        but      it should            be in

            j 21                      Q.        Was       It money            being          returned           for an Iteb                                                       :21          communication                       that       he had           for     me      to send           the     wire.

            ' 22            problem,            or what?                                                                                                                          a 22                    Q.        Do you         know        where         Iteb       and    his wife         are at
            I
            ' 23                      A.        Something.                    I dorlt            recall.            But     I know           1 did                                j 23         now?

                   24       that      wire        for     a previous                   transaction.                  That        was        not         part                      ' 24                    A.        I dorlt         know.            And       that's         something                -- since
                                                                                                                                                                                  i
  13:5t25 ofthePatrickfunds.Andthenforwhatever
                                            reason,
                                                 the                                                                                                                   t3.5t25 after-sincethebeginning
                                                                                                                                                                                                     of thelawsuit,that's
                                            GEORGIA              WINEGEART                   & ASSOCIATES                                                                                                      GEORGIA              WINEGEART                & ASSOCIATES

 04/15/2024                 01:37:11            PM                                                                                                     Page 53 to 56 of 74                                                                                                                             14 0f 19 SheetS
 Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 14 of 18


              .-                                                                                                                                  57                                                                                                                                                                      59

                   al      something                he never                 disclosed              to me.            The          only        thing         he                        4        some         of them,                   texts       and        things           like     that.         But       he make

                   2       told     me       about          was           the     glove.            And        then       just        for       the                                    2        me        believe            Mr.        Muller           was         very       good          and      his     partner               and

                   3       record,          the      $57,000                 that      was         applied,             even         though he                                         3        even        told           me      Mr.      Muller            is like         a father           to him             is what

                   4       told     me to use                 it,    but        that        was       pretty        much             what         was                                  4        he told              me      because               they        supporting                 him         while          he wasin                     I   .f
                                                                                                                                                                           13:58       5        jail,      supporting                     his wife.             And           then      so if he's             out        of
                                                                                                                                                                                                                                                                                                                                                      t
t a,ss             5       going         on.       And        he did            call        and     ask      for      that.

                   6                Q.           He asked             for 57,000?                                                                                                      6        jail,      it's      because               of Mr.          Muller             paid      whatever               is the

                   7                A.           Yeah,         the        money             that       he made                on     my        account                                 7        necessary                   fees.

                   8       when          I was         to purchase                     the        house.           So that            was                                              8                   Q.          All right.               This     $5,000             deposit,         what       is that?

                   9       money           that        he let            me      use,        but     that        like     a small              loan.                                   9                   A.          Oh,         that      was          my      money.                That        was        a client

13'55         10                    Q.           And you             did not give              that       money          back        to him,                               13:59     10         deposited                   money.

         ' l1              did you?                                                                                                                                                   al1                  Q.          Which             client?

         'aiz                       A.NoiInevergiveitbacktohimsincethat.('                                                                                                          ' 12                   A.          At that             time          I had         -- I used             to buy          cars         from

          i 13             And       so I was             -- even               the     glove,         I had            the    glove,             but        I                       1 3         auctions.                  And         then       when           I was             waiting           to do this

          114              never          made          the         effort        to give            him     the        glove,                                                       14          transadion,                      so I start              selling             the     cars       in order            to

13'55115                   unfortunately.                                                                                                                                  13 59 15              accumulate                       the     cash         that       I know              to cover            my        transaction.

    : 46                             Q.          The 499.29,                  what          is that?                                                                                  16         So a lot             of this            transactton                  WaS the            time         that       I was

              17                     A.          That's             my     expense.                                                                                                   17         selling             the         cars     and       things             like     that.
          I

          , 18                       Q.          And then             the       $900         is youi- expense                  too?                                                   18                    Q_         And do you think                         this        was      a sale of a car or

          i 19                       A.          The      goo'?                                                                                                                     ' 19         yours,           or not?

13:56             20                 Q.          Yes.                                                                                                                       13:59     20                    A.         That             $5,000           was          money            sent      from          one        of my

          ' 2al                      A.          Yeah,          yes.                                                                                                                  21         clients,             the         $5,ODD.              And       then          the      other         25,000           was           sent
          j
          ' 22                       Q.          And a Cash                  App of hundred                    is ror you            as well?                                         22         because               I had             money.               And       also         in my       current             deal,        I do

          ' 23                       A.          That         is correct.                                                                                                             23         collect             money              so I can,              like     a group              of people               every

          , 24                       Q.          And is the               $84.41,            is that        yours?                                                                    24          month,              we         give      some           money.                And      then         when           it's       my     turn,
          I                                                                                                                                                                      I
 3 3 5Ei 25                          A.          Corred.                                                                                                                    14.00 25              I receive                it.     So that             was       all     my         money.
          t                                                                                                                                                                      L___
                                            GEORGIA                 WINEGEART                  & ASSOCIATES                                                                                                          GEORGIA               WINEGEART                    & ASSOCIATES

                   ,_-                                                                                                                                58                                                                                                                                                                    80

                    1                Q.          Yes?                                                                                                                                 ',-1                  Q.             The $77.61,                 that      was a purchase                       of something

                       2             A.           Yes.        That           was       for        phone          service            for     the                                       ' 2         on Amazon?
                                                                                                                                                                                      I
                       3    company.                                                                                                                                                  ', 3                   A.            Yes.

                       4             Q.            And the           $t50         Capital          One is yours?                                                                      '4                     Q.            And that             was for you?

 13:56                 5             A.            Corred.                                                                                                                  14:00     i 5                    A.            That         was        for     me.

                       6                           MR. TOMCHIN:                        Come          on down,            Taylor.                                                      , 6                    Q.            And then              there        was a transfer                   to AAA of

                       7    BY MR. TOMCHIN:                                                                                                                                                 7     $5,000,             correct?

                       8             Q.            All right.             We're        going         to go to the              next                                                   I8                     A.            That          is correct.

                       9    month.              Let me ask you                      this.      Iteb       told     you        Mr. Muller                                              : 9                    Q.            And so that                 went       to you            as well?

                                                                                                                                                                            14 00ilO                         A.            Yeah.           That          went          to     me.        That's           my     s,ooo, yes.
 13157       him
               this
                  $i.8
                    million
                        cash,
    ll01wsaayslnloga,ning orwhat
                             was
                               helffll                                                                                                                                                Ili          I believe                that         5,000           and     I moved                it to another                  account
                   12                 A.           NO.        He told            me         he has          a business                going             on                            :12          to do something.

                   13       with         Mr.       Muller.            And         before           then,         he make                  me     believe                              '13                                   MR. TOMCHIN                    : Come              on down           a little       bit.
                                                                                                                                                                                      I
                   14        that     Mr.         Muller            patd        for    -- is the            one       that's          supporting                                       14          BY MR. TOMCHIN:

 13:57             15        him     financially                    at that           time.         And        then         he also             pay        and               '14:01 15                        Q.           There's          25 grand.                  What          is that?

                   16        then         that's        when              I know            Mr. Muller              sends            wires         to        his                      ,16                     A.            That         was       money               I received               for     probably                sale        of

                   17        account.               And        so because                     -- and        then         -- but           he never                                     17          the       cars          or sornethtng                      like      that.          That      was         my        money.

                   18        discussed               that           Mr.      Mutter           loaned         him         some             money.                 So he                i18                     Q.            And how              about         the 10?

                   19        says         that      was         his       money.               Mr.     Muller           trusts            him.          So                            f,19                      A.          That's          pretty            much            the      same.

  t3:58            20        they         did      whatever                  transaction,                  they       did      together                 and                  14:01        20                    0.          Do you think                  another             one of your              transactions

                   21        thingslike                that.                                                                                                                              21       is where                money          went         into     this        account           by you?

                   22                 Q.           And this              is all what           Iteb     told       you.        You have                                                    22                   A.          That          is correct.                 That's,          from         there        that          was

              , 23           nothing            of that        in writing?                                                                                                                 23       all    my         transactions                       because              I believe             you      will      probably

              ' 24
              I
                                      A.           I should               have         some           of the        conversation                        in                            $24           go into next month and I stop receiving -- that was
  13:5E1 25                  writing.              Some             of them             was        in verbal             communication.                             But
                                                                                                                                                                          %i
                                                                                                                                                                             14'01125 during the tax season where I start receiving money and
                                                GEORGIA              WINEGEART                     & ASSOCIATES                                                                                                        GEORGIA                  WINEGEART                   & ASSOCIATES

 15 of 19 sheets                                                                                                                                                 Page 57 to 60 or 74                                                                                                             04/15/2024                    01:37:11          PM
 Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 15 of 18


        ,--j                                                                                                                                       61                                                                                                                                                                          63

                     1        I start           selling            the      cars        and      things       like        that        because                                             al       answer.             ) apologize.

        I            2        let     me        explain to you I entered into a contract                                                      on                                          2                A.           No.       As you            see       all       the      deposits,                that's

                     3        November                     20th      to        purchase             that     house,             but     the        seller           was                   3        coming              down          during         that         time.           So I was                 accumulated                    that

                     4        not       ready          to close                until     February.                So I had              money              in                             4        amount              because              at that          time          the        tax     money              was           already

14'0q                5        two       separate                  accounts,               plus      I had         those          cars       that       I                                  5        deplenish              by Itetls             transactions                         and      so forth.

                                                                                                                                                                                          6                  Q.         [ appreciate             that        and I will               do all of that
         i 6 purchased
                    fromauctions.
                               SoI haveto liquidate
                                                  themto
         '            7       have         the        money               ready         to close           because           the        loan        that        I                         7        math       after.           l want         to make            sure         that     I was adding                  and

         '            8       was       getting               was         like     a hard           money,           like       private                                                   8        subtracting                the right        amounts               and who                put     money           where
         I
         '            9       financing.                    So that            was       not       much       requirement                     to get            a                         9        and when.                 That's      what         I'm        going         through             today.          That

1 4'02           'l O         letter.               So I get             a letter,         but      all the        money              was      lined                      14         10            316.86,             your     Comcast             bill,    correct?
         I
         ': 11                up to cover                    my      transadion.                                                                                                     1l                      A.          Yeah.          That         was         my        Comcast                 bills.

                 12                     Q.            And         the loan you had on your                           St. Lucie                                                       12                                  MR. TOMCmN:                         Come           on down,               Taylor.

                 13           property               was      about         a million          dollars?                                                                              13            BY MR. TOMCmN:

             i 14                        A.           Yeah,it was about a million dollars. So I
14:02
             I
                 15           believe               I purchased                   it for 1,330.               And         then        -- so I put                         I,O! "1145
                                                                                                                                                                             i)16
                                                                                                                                                                                   accouQn.t?                            $16,000
                                                                                                                                                                                                                            deposited
                                                                                                                                                                                                                                back
                                                                                                                                                                                                                                  by
                                                                                                                                                                                                                                   your
                                                                                                                                                                                                                                     con'ipany
                                                                                                                                                                                                                                        tothis
             jl6              less       than          20         percent.             1 asked         to put 15                 percent.            This                             A. That is corred.                                                         That          was          my      money.

             )17              is when                I started              the        transaction,               but     I believe              the                             i 17                        Q.          How about              the         398?

             ' 18             lender                changed              the      -- they          change          it.      They        give        me          a                     18                     A.          The         398,      I received                  from         TPG          Produds.                   I

                 19            letter        for 15               percent.              Basically          I needed               less       money                                    19           started             the      tax     fees,        money               that         people            pay        me to file

i=i:oj               20       after        that.             They          changed             it after       the        appraisal.                                       14          20           taxes.              So I started              receiving                    that,         that      is correct.

             !21                                      But         I did        -- when             I send         in documents,                     you                               21                     Q.          143.75,            what       is that?

             122
             I
                               will      see         all     the     transactions                   with      my         money,             which           one                       22                     A.          That          was      probably                   to pay           for    joining               a

                     23        is like          7 in one             account              and       like     6 in one,             plus       I sold                                  23            corporation.                     That       was         pretty             much          for      fees         for       the     same

                                                                                                                                                                                      24            thing.             Like      I said,        I used              this       account              if somebody

14J:; _::::::::iIcomeupwiththem-neyneededfo-                                                                                                                                     1,
                                                                                                                                                                                      25            needed              to give         me      anything                   or things               like      that            and     so I

                                                    GEORGIA               WjNEGEART                 & ASSOCIATES                                                                                                       GEORGIA              WINEGEART                    & ASSOCIATES

                                                                                                                                                     62                                                                                                                                                                         64
                                                                                                                                                                                 v    "'

                 l--'1-'                 Q.            The         $118.07             went      to you;      is that        correct?                                                      1        da that.

                         2                 A.          Yes.          That         was         my    money.                                                                                     2              Q.          Did you get reimbursed                                 by those             people         you

                         3                 Q.          And         then        it was your           charge?             In other                                                             3     paid out first               and did they                    pay you             back the 143.75?

                         4     words            -                                                                                                                                             4               A.          Yeah,         they         do.         They          do      pay         me       because                 I have

 14:03!,                  5                A.          That          was         my      charge,           yes.                                                                                5    two       accounts                 with     Wells               Fargo.            One          was      the          receiving

                 )        6                Q.          The         $19,000,             is that     money          back         from       you      to                                         6    one       was         something                  like        that,         but      both         of them                 was      -- so

                 ' 7           the      business?                                                                                                                                              7    they          pay,        if they         pay      fees.             ond         the     other          one,             I make

                                                                                                                                                                                               8    transadions                      out,      such          as outgoing                     transadions.



 ,,..I,E
      i :E.,=.=EEI.-Hi,=:,_.=E.,_...,,.,.
                 i 1l
                 I
                                probably                   with      the         cars     or something                    like     that,         yes.
                                                                                                                                                                           '14        10

                                                                                                                                                                                      1l
                                                                                                                                                                                               9              Q.

                                                                                                                                                                                                              A.

                                                                                                                                                                                                              Q.
                                                                                                                                                                                                                          And the same

                                                                                                                                                                                                                          Yes,

                                                                                                                                                                                                                             What's
                                                                                                                                                                                                                                       both      the

                                                                                                                                                                                                                                            the $19,500
                                                                                                                                                                                                                                                            for the second

                                                                                                                                                                                                                                                             same.

                                                                                                                                                                                                                                                                         for?
                                                                                                                                                                                                                                                                                             143.75,             correct?




                 '1 2                      Q.          The         410.99,             what    is that?                                                                               12                        A.           I believe          one          of the            -- I have             to pay              for    -- I

                     1 3                   A.          That          was         a purchase                from          Boss      Resolution.                                            13         purchased                  some          cars          or something                      like        that      at that            time,

                                                                                                                                                                                          14         if I recall.



 ,...l:i
     "a'f"E'="oo"a""-"o"'-"""""'a'
                     17                    Q.              What's         the     $48,700?
                                                                                                                                                                                          15

                                                                                                                                                                                          16

                                                                                                                                                                                          17
                                                                                                                                                                                                     Iteb,
                                                                                                                                                                                                                Q.



                                                                                                                                                                                                                A.
                                                                                                                                                                                                                             That's

                                                                                                                                                                                                                  but for you?

                                                                                                                                                                                                                             That
                                                                                                                                                                                                                                         for your



                                                                                                                                                                                                                                       was       my
                                                                                                                                                                                                                                                             purchase,



                                                                                                                                                                                                                                                             purchase.
                                                                                                                                                                                                                                                                                      though,             it's not for




                     18                    A.              That's         when           I send       that        money            to title          company                              18                    Q.            And the $2,500                     is checking                for you;          is that
                     19         for      my          closing.                                                                                                                             "19        correct')

                      20                   Q.              And that's             a payment            for your           Port St. Lucie                                   14              20                   A.            That      is correct.

                      2"l       property;                  is that        correct?                                                                                                         21                     Q.          Thirty     dollars,           a wire            transfer            ree of some

                      22                   A.              That's          correct.                                                                                                        22        nature?

                      23                   Q.              What's         the 300,000?                                                                                                     23                     A.          Yes.      That         was          for      me.

                      24                   A.              So sorry.                                                                                                                       24                     Q.          And the 5,000                  -

                      25                   Q.              That's        all right.           Go ahead.             Finish        your
                                                                                                                                                                               j40[E!                             A.          Thatwasfor metoo.
                                                     GEORGIA               WINEGEART                 & ASSOCIATES                                                                                                       GEORGIA               WfNEGEART                    & ASSOCIATES

 04/15/2024                     01:37:11               PM                                                                                                       Page 61 to 64 of 74                                                                                                                                          16 of 19 sheets
    Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 16 of 18


                                                                                                                         65                                                                                                                                                 67

                 '1               a.         The 5,000?                                                                                           1         made for Iteb afi:er this February                                        24th date?

                 2                A.          No, no.         Wait         a second.                                                               2                    A.          I don't         recall         because              I did make                a $5,000

                 3                            MR. TOMCHIN:                  Come on down.                                                          3        statement                  for htm.             That          was         for     a dinner           with      the

                 4                            THE WITNESS:                  I believe     the -- I did the                                         4        lawyer                in Miami,           and        I'm      trying            to look         for it, but            that

*                5                last-that             was for me because                   I believe       the last                    l4:l 1    5        was           from        the     Wells          Fargo.             That         was         for $5,000.               And

                 6                transaction               I did for Iteb was the $5,000,                    but                                  6        that          was        wired.           I'm        trying         to -- but I will                  look     for

                 7                thals         probably           part of the past already.                                                       7        it.

                 8        BY MR. TOMCHIN:                                                                                                          8                     Q.         That might              have been after this?

                 9                Q.          Let me just           make sure I'm              clear.   The $5,000                                 9                     A.         Probably             after          this     or something                     because               I did

            10            on Februai'y              17th,     you?                                                                       14:11     0        the        wire.          That         was       a $s,000                 wire.         That     was         the       last

            ll                    A.          That     was         my transaction.                                                                41        transaction                     I did      for him.
                                                                                                                                                                                                                                                                                                    fflffi

            12                      Q.        Okay.         And then $550 came back in. That's                             you                    12                      Q.         At this point            in time,           without           the documents                                                      I
            13            as well,          correct?                                                                                              13            In front          of you, you can't tell me how much prol'it you

            14                      A.        Yes.      That's         my money.                                                                  14            made          on your Port St. Lucie property,                                     correct?

1           15                      Q.        And the 42.63,                yours?                                                       14.      al5                     A.         I cannot            tell,     but         that         wasn't         much         of a                                          I
            16                      A.        Yes.                                                                                                16            profit.            There       ts something                     after         all that       come          down                and

            17                      Q.        And then 84.41,                yours?                                                               17            it really           was      probably               a huge             load        on me and               she      wasn't

            18                      A.         Correct.                                                                                           18            working.               So we end                  up not          able        to pay the             property.                        So

            19                      Q.         And deposit            of $505,       yours?                                                       19            there          was        a lot of deficit                 going            on.      And     because               the

    q       20                      A.         Correct.                                                                                   14:1    20            license             was      not     active            and      I was          really       depressed,                       so I

            21                      Q.        1,600,        yours?                                                                                21            was       not        working.               Financially,                things            were       not       going

                                                                                                                                                  22            well       and       then       the       property               need         some          repairs         at the
           I 22                     A. Yes.
                                                                                                                                                  23            time.           So it's       a lot of money                      goes            into     fees     and        things
           123                      Q. And$2,700,youandyourwife?
                                                                                                                                                  24            like      that.           So that        was           -- I dorlt             remember-but                          I
           124                      A. Correct.
14:0425                                        MR. TOMCHIN:                  Now let's come down.                   So the                        25            believe             the     money           that         we spent,                such      as the         deposit,                     we        ,

                                            GEORGIA           WINEGEART & ASSOCIATES                                                                                               GEORGIA WINEGEART                             & ASSOCIATES

                                                                                                                          66                                -                                                                                                                      68

                     al             closing          balance,        I think       itas going     to probably                                          1         did      receive           that      money.                 We did receive                   that.         And              it's            "

                     2              show         you at the top of the page, Taylor,                         what       the                            2         literally           like    300.           That's           pretty           much         it, as I recall.

                     3              close was on this.                     Keep going,          keep going.         I                                  3                   Q.         Have you done an analysis                                   to establish           all of

                     4              think        it shows          it, but keep going.             It's going to                                       4         the monies                that you-you                      see you spent                 quite a bit of

                     5              be the very first page or this one.                                                                   14.          5         dollars          on different           things           here,        like Macy's and cars

                     6     BY MR. TOMCHIN:                                                                                                             6         and things               of that      nature,            correct?

                     7              Q.         Ending        balance,         for some reason            maybe-it                                      7                   A.         Yeah.           I did spend                 money,                 but I did         have          a lot

                      8    doesn't           show      us here, does it? They blacked                        that out,                                 8         of money                 coming            into       the      account,             such         as -- if you                  do

                      9    didn't        they?                                                                                                         9         the      math,            money          that's          out     and         money           got       in, which                    is

             10                      A.        Itas blacked                out,    but you       showed        total       deposit        14       10             money             that     belongs               to me,         and that                would         make            it

             11            was         61,000         something.                                                                                   11             different.

             12                                 M R. TOMCHIN : Come on down                             now again,         Taylor.                 12                        Q.       And how much-have                                     you done that               analysis?

             13            BY MR. TOMCHIN:                                                                                                         13                        A.       Honestly,              I haven't,                 but       I will     definitely

             14                        Q.       Let's see.          Totals        of ss,ooo.       Expenditures            of                      14             take         a look        to see how                   much          was        it so we          both          can

    1            45        80-almost                  3,000.         So I just       have to do the math                 on                        15             up with            some          numbers.

             1 6           that      to see whatas left, what we started                             wlth.     So                                  16                         Q.      Sure.         And then the issue is, l'iave you spent

                 17        there's           a few dollars           left in there.          Do you know if                                        17             more         money          after      this rorlteb.                  And you said I mlght

'                18        Mr. Muller               put any more             money      Into your       account         after                      18             have spent $5,000                         for a lawyer               in South            Florida       for him
                                                                                                                                                                                                                                                                                                                          Y2%1
                 19        this February               of 2022?                                                                                    19             out your            money,          and you're                going to look for that.                        I

                 20                    A.       No.     You         will    see all the         deposits.           And       then         N.1        20          might           even have something                           on that,           but I'll look as

                 2'l       if you           need      help     to know             all the     transactions             was     done,                 21well.

                 22        I will           foard           that     to my lawyer.                And    for Iteb,         I will                      22                     A.       I do have                 the     wire-oh,                   so sorry.            I do have

                 23        disclose             and     provide            it, the    instruction,           wire                                      23         the        wire         instructions.                  So I will            look        for it and           then

                 24        instruction                and     everything.                                                                              24         to see ifl                can match                  it with         any        of the      transactions.

        14.11 25                       Q.        DO you think              there's    any more          payments          you                          25                      Q.         Did you have to pay tax on the sale of your

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    17 of 19 sheets                                                                                                              Page 65 to 68 of 74                                                                                                      04/15/2024               01:37:11                      PM
    Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 17 of 18


                                                                                                                                    69                                                                                                                                   71

                 al   property            at Port St. Lucie?                                                                                               1           the question.               You had outlined                     what     you had done              for

                 2              A.        Yes,       because              I believe               I did        not      make          a                        2       Iteb    during       this    period.         Can you think                     of anything

                 3    profit.          So basically                 it was           not-it               was         the     money                            3       else?        And then        you started                to answer.               Go ahead.

              4       that      I spent             that      I was          able         to secure.                  So it wasn't                             4               A.      No.         During        this         period,           the     only     thing        -- the

        5        5    that      much            taxes.                                                                                                         5       only     services           that      I did       was            basically         to    receive         the

                 6              Q.        Did you do a tax return                             with        the LLC that               you                       6       money         and      then        do the             wires.         I did       not     do anything

                 7    purchased              it in?                                                                                                            7       except        for     the     wire.        And             beside        that,     I disconnected

                 8              A.        Such        as purchasing                       of the             Port      St. Lucie                               8       me,     such        as internet             services.                   No other         services         with

                 9    property?                                                                                                                                9       it at all.

1           10                  Q.        No.       Let me walk                  through           it.       Res Investment                         t4:29 10                            MR. TOMCHIN:                     Great.            I have        no further

            1l        owned           that      property           in Port St. Lucie,                     correct?                                        Il                   questions.

            12                  A.        Correct.                                                                                                        j2                            MR. OSBER:                No questions.

            13                  Q.        IIs      an LLC?                                                                                                13                            MR. REINER:                No questions.

            14                  A.        Yes       -- no.         I believe               it's     a corp            or                                  14                            COURT         REPORTER:                     Read or waive?

1       5 15          something.                                                                                                                    14'29 15                            MR. OSBER:                We'll           read.

            16                  Q.         Do you know                 if it provided                 any income               to                         16                          (The deposition                was concluded                      at 2:30     p.m.)

            17        either         you or your              wife        individually?                                                                   17                                                 *     *          *     *      *

            18                  A.         No,      it does           not.                                                                                18

            19                  Q.         Did it have             any money                left over               after     the                         19

1            20       sale;'                                                                                                                               20

             21                 A.         In     terms           of proftt,            or in terms                   of money?                            21

             22                 Q.         First,     let's       say profit.                                                                              22

             23                 A.         I don't           recall        we       had         any       profits.                                         23

             24                 Q.         You do have a closing                           statement,                 though,                              24

i            25       correct,            for that?                                                                                                        25

                                      GEORGIA               WINEGEART                   & ASSOCIATES                                                                                 GEORGIA              WINEGEART                 & ASSOCIATES

                                                                                                                                     70                                                                                                                                    72
                                                                                                                                                               1                                            CERTIFICATE                    OF OATH
                 1              A.         Yeah,           yes.       I will        -- I do have                     that.
                                                                                                                                                                   2                                (VIDEOCONFERENCE                             PROCEEDINGS)
                  2             Q.         And it will either                    show       money             left over;            that
                                                                                                                                                                   3
                  3    may       not necessarily                   be profit,             but      money            left over?                                     4    THE STATE OF FLORIDA                             )
                  4             A.         That       is correct.                                                                                                  5    COUNT/OFDUVAL                                )                                                                    €

14:               5              Q.        I think         you stated              of all the monies                        that    Iteb                           6
                                                                                                                                                                   7           I, the undersigned                  authority,              certify       that
                  6    gave-well,                   strike        that,      strike        that       question.
                                                                                                                                                                   8    ]OHNNY          PREVILUS,             appeared                before          me and was duly                 sworn
                  7                          MR. TOMCHIN:                     Let me do this.                        It is 2:17.
                                                                                                                                                                   9    on the 29th           of March,            2024.
                  8              Give me until                 2:25        to see if I have                    any other
                                                                                                                                                           10
                  9              questions.                                                                                                                11
14:1q 10                                     MR. OSBER:                   Okay.                                                                            12                  Signed        this 13th           day of April,              2024.
                                                                                                                                                           13
            Ill                                                       (Briefbreak)
                                                                                                                                                           14
            !12                              MR. TOMCHIN:                        I just     have          a couple            more
                                                                                                                                                           15

             13
             14
                                 questions
                                        and that's
                                   MR. OSBER:
                                                  it.
                                              All right.                                        Go ahead.
                                                                                                                                                 Y/,                           CYNTHIA             G. SILVERBERG,                       Court       Reporter
                                                                                                                                                           16                  Notary        Public       - State        of Florida
             15        BY MR. TOMCHIN:

             16                  Q.          Mr. Previlus,             you        had mentioned                       the various                          17

             17        tliings        you       did for Iteb.                Can you              think       of anything                else
                                                                                                                                                               18
             18        you did for him during                             this     timeframe?

             19                  A.          The      only        thing          that      I did          was         this.        And
                                                                                                                                                               19
    1         20       after         --

              21                                                      (Garbledaudio)                                                                           20

              22        BY MR. TOMCHIN:                                                                                                                        21
                                                                                                                                                               22
              23                 Q.          Let me start              over.
                                                                                                                                                               23
              24                 A.          Can      you         hear       me?
                                                                                                                                                               24
    1            25              Q.          Now I can.               That's         a little         bit.     I asked             you                         25
                                          GEORGIA             WINEGEART                   & ASSOCIATES                                                                                GEORGIA             WINEGEART                     & ASSOCIATES

04/15/2024             01:37:11              PM                                                                                            Page 69 to 72 of 74                                                                                                        18 or 19 sheets
Case 1:23-cv-22276-JB Document 156-3 Entered on FLSD Docket 08/06/2024 Page 18 of 18


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      '1                                                         cesnncq"re                         OF REPORTER

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      3          THE STATE                    OF FLORIDA                             )

      4             COuNTYOFDLlVAL                                              )

      5

      6                   I, CYNTHIA                         G. SILVERBERG,                                Court              Reporter                    and Notary

      7             Public,     certify                 that        I was authorized                                 to and             did

      8             stenographically                             report          the videoconference                                           deposition

      9             of JOHNNY                 PREVILUS,                       Pages 1 through                                    71;       that           a review                of

     10             the   transcript                     was requested;                             and that                     the transcript                          is

     11             a true     and           complete                      record              of my stenographic                                         notes.

     12                   I further              certify              that           I am not a relative,

     13             employee,                attorney,                     or counsel                   of any of the parties,

     14             nor am I a relative                              or employee                            of any of the                           parties'

     '15            attorney           or counsel                      connected                      with           the action,                      nor am I

     16             financially              interested                      in the            action.

     "17

     18                                 DATED                    this 13th                 day of April,                         2024.

     19

     20

     21

                                        CYNTHIA                      G. SILVERBERG

      22                              Court                  Reporter               and Notary                       Public

      23

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                                      GEORGIA                      WINEGEART                        & ASSOCIATES


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           23                  ic      are       true.


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                                                      GEORGIA WINEGEART & ASSOCIATES



19 of 19 sheets                                                                                                                                                          Page 73 to 74 of 74   €4/15/2024   01:37:11   PM
